                                           EXHIBIT B



                                       UNITED STATES BANKRUPTCY COURT
                                          NORTHERN DISTRICT OF OHIO
                                               EASTERN DIVISION

In re:                                                     )    Chapter 11
                                                           )
Squirrels Research Labs LLC, et al.1                       )    Case No. 21- 61491
                                                           )
                            Debtors.                       )    (Jointly Administered)
                                                           )
                                                           )    Judge Tiiara N.A. Patton
                                                           )

    DECLARATION OF DAVID STANFIL IN SUPPORT OF SUPPLEMENTAL BRIEF IN SUPPORT
                     OF ALLOCATION OF INSURANCE PROCEEDS

           I, David Stanfill, declare under penalty of perjury under the laws of the United States of America that

the following is true and correct:

           1.      Prior to the Petition Date, MWDC and SQRL were each a named insured under an insurance

policy with The Cincinnati Insurance Company. Each entity had coverage under this policy for business

interruption and for property damage. See Policy Declaration Page Attached as Exhibit 1. MWDC and SQRL

shared the cost of the insurance premiums.

           2.      This insurance policy was in effect on July 15, 2021 when there was an industrial fire at the

Debtors’ Facility.2

           Damage to MWDC and Property in Its Possession

           3.      At the time of the fire, MWDC was operating a hosting business at the Facility providing

hosting services for cryptocurrency mining machines. See Declaration of David Stanfill in Support of First

Day Filings [Docket #8]. MWDC had in its possession various computer modules/carriers, equipment used




1
 The “Debtors” in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification number, are:
Squirrels Research Labs LLC (9310), case no. 21-61491 and The Midwest Data Company LLC (1213), case no. 21-61492.
2
    Capitalized terms not otherwise defined herein have the meaning given to them in the Motion to Compromise.




     21-61491-tnap         Doc 347-2        FILED 06/21/24          ENTERED 06/21/24 09:02:23                   Page 1 of 50
for cryptocurrency mining, owned by third parties. MWDC did not create, manufacture, or build any of these

modules/carriers.

        4.       As a result of the fire, certain customer owned property in the care and custody of MWDC was

damaged. See Fire Details, attached as Exhibit 2. Shortly after the fire, a customer of MWDC asserted a direct

claim against Cincinnati Insurance Company for damage to its property and business interruption. Cincinnati

declined to entertain the direct claim and indicated the coverage flowed to MWDC, the named insured and the

entity in the custody and control of the property at the time of the fire.

        5.       Based on the records of MWDC, its customers who had property damaged in the fire include

Jeff Schugart (dba JS Mining), NJEB, and Michael Maranda. See Hosting Agreements, example attached as

Exhibit 3, JS Mining Property listing, attached as Exhibit 4, NJEB property listing attached as Exhibit 5. After

the fire, but before the filing of the above-captioned bankruptcy cases, Maranda, through his entities known as

MMLLC or RPNY Holdings LLC, and NJEB LLC sold their property to Instantiation LLC, a subsidiary of

Alignment Engine, Inc.). A specific listing of the property and copies of the purchase agreements can be

provided to the Court under seal if necessary.

        6.       Based on the records of MWDC, the estimated replacement value of the damaged property

owned by these third parties, but in the care and custody of MWDC at the time of the fire totals over

$355,000. This property remained in the possession of MWDC at the time of its bankruptcy filing and is listed

in MWDC’s Statement of Financial Affairs, part 11, Question 21 – Property held for another3, and remained

covered under MWDC’s insurance policy with The Cincinnati Insurance Company.

        7.       As a result of the fire, the business operations of MWDC were interrupted. See Declaration of

David Stanfill in Support of First Day Filings [Docket #8].



3
 Schugart is also listed as the owner of specific property, not carriers/modules or property damaged in the fire in SQRL’s SOFA,
Part 11-Q.21 – property held for another. [See Docket 62, pp. 75-81]. This property is distinct and different from the property
described in MWDC’s SOFA, part 11-Q.21 [See Docket 36 filed in Case No. 21-61492, p.21].

                                                                2


    21-61491-tnap        Doc 347-2        FILED 06/21/24            ENTERED 06/21/24 09:02:23                Page 2 of 50
       8.      After the fire, MWDC, as reflected in the documents filed in this case, was able to resume

operations, file this bankruptcy case, propose and confirm a plan of reorganization and emerge as a

reorganized debtor under its confirmed plan of reorganization. See Stanfill Declaration [Docket #8], Balance

Sheet, Profit and Loss, Statement of Cash Flows, [Docket #24 in Case No. 21-61492] Plan of Reorganization

[Docket #170], and the various Operating Reports filed with the Court during the pendency of the MWDC

bankruptcy case.

       9.      In its lawsuit against Cincinnati, MWDC asserted claims for business interruption and damage

to property owned by its customers, but in its care and control.

       10.     As the result of negotiations and mediation with Cincinnati, MWDC and Cincinnati agreed to

resolve MWDC’s insurance claims as follows:

               a. $175,000 for damage to property in the care and custody of MWDC on the date of the fire

               b. $25,000 for business interruption.

       11.     The property damage resolution represents an approximately 50% recovery in comparison to

the replacement value of the damaged property.

       12.     The business interruption claim is reflective of MWDC’s lost revenue, supported by the pre-

fire monthly revenue received by MWDC for the hosting of customer equipment. For instance, prior to the

fire, MWDC was receiving revenue of $18,389.60 per month from hosting of MMLLC/Maranda’s property.

See Hosting Agreement attached as Exhibit 3 and the Invoice from MWDC to Maranda, attached as Exhibit 6.

As a result of the fire, MMLLC/Maranda discontinued hosting operations with MWDC resulting in a

substantial loss of revenue and, thus, profit. The resolution of MWDC’s business interruption claim is further

reflective of the insurance policy’s limits and the risk and costs associated with continued litigation.

       13.     MWDC, as a reorganized debtor and pursuant to MWDC’s confirmed plan of reorganization,

did not need this Court’s authority to enter into this resolution with Cincinnati, but in the interest of



                                                         3


  21-61491-tnap       Doc 347-2       FILED 06/21/24         ENTERED 06/21/24 09:02:23          Page 3 of 50
transparency, joined in the Motion and articulated its intentions with respect to the disposition of the

settlement proceeds attributable to its claims against Cincinnati.

       Damage to SQRL and its Property

       14.     At the time of the fire, SQRL was operating a business that manufactured, sold, and repaired

hardware, including Datacenter Accelerator Boards used in cryptocurrency mining machines. See Declaration

of David Stanfill in Support of First Day Filings [Docket #8]. SQRL did not provide hosting services for any

third party owned property. Some of SQRL’s customers would choose to have the hardware they purchased

from SQRL hosted by MWDC, rather than have SQRL ship the purchased hardware to a hosting company

other than MWDC.

       15.     As a result of the fire, some of SQRL’s property was damaged. See Fire Details Regarding

SQRL attached hereto as Exhibit 7. Based on the records of SQRL, the replacement value of its property

damaged in the fire totals $35,324.99.

       16.     As a result of the fire, the business operations of SQRL were interrupted. See Declaration of

David Stanfill in Support of First Day Filings, paragraph 17 [Docket #8].

       17.     After the fire, SQRL was never able to fully resume operations due not only to the fire but also

as the result of liquidity constraints and supply chain disruptions that prevented SQRL from being able to

obtain sufficient component parts to satisfy order in a timely matter.

       18.     SQRL listed in its bankruptcy schedules the property it owned, none of which includes

Modules/Carriers. [Docket #62, Schedule B-parts 5 and 8 and related exhibit].

       19.     Ultimately, SQRL filed its bankruptcy case, and was able to confirm a proposed plan of

liquidation following a sale process approved by this Court.

       20.     As the result of negotiations and mediation with Cincinnati, SQRL and Cincinnati agreed to

resolve SQRL’s insurance claims as follows:



                                                        4


  21-61491-tnap       Doc 347-2      FILED 06/21/24         ENTERED 06/21/24 09:02:23          Page 4 of 50
               a. $17,500 for damage to SQRL’s property

               b. $15,000 for business interruption

       21.     The property damage resolution represents an approximately 50% recovery in comparison to

the replacement value of the damaged property.

       22.     The business interruption claim is reflective of the difficulty of proving lost profits or revenue

directly attributable to the fire, and the speculative nature of any such proof of damages.



I declare under penalty of perjury under the laws of the United States of America that the foregoing is true and

correct.

           20 2024
Date: June ___,                               ____________________________
                                              David Stanfill




                                                        5


  21-61491-tnap       Doc 347-2      FILED 06/21/24         ENTERED 06/21/24 09:02:23          Page 5 of 50
                          EXHIBIT 1 to Declaration

                                                  The Cincinnati Insurance Company
                                                                 A Stock Insurance Company

                                                Headquarters: 6200 S. Gilmore Road, Fairfield, OH 45014-5141
                                                Mailing address: P.O. Box 145496, Cincinnati, OH 45250-5496
                                                              www.cinfin.com Q 513-870-2000




                           COMMON POLICY DECLARATIONS
                                                                  Billing Method: DIRECT BILL
                               POLICY NUMBER EPP 057 45 07
    NAMED INSURED SQUIRRELS RESEARCH LABS, LLC & MIDWEST DATA CO., LLC
                  121 WILBUR DR NE
    ADDRESS       NORTH CANTON, OH 44720-1641
    (Number & Street,
    Town, County,
    State & Zip Code)


    Previous Policy Number:
    EPP0574507
    Policy Period: At 12:01 A.M., STANDARD TIME AT YOUR MAILING ADDRESS SHOWN ABOVE
    All coverages except Automobile and / or Garage
       Policy number: EPP 057 45 07                FROM: 04-08-2021              TO: 04-08-2022
    Automobile and / or Garage
       Policy number:                                 FROM:                      TO:
    Agency     SCHAUER GROUP, INC. 34-217
    City    CANTON, OH

    Legal Entity / Business Description
    LIMITED LIABILITY COMPANY
    IN RETURN FOR THE PAYMENT OF THE PREMIUM, AND SUBJECT TO ALL THE TERMS OF THIS
    POLICY, WE AGREE WITH YOU TO PROVIDE THE INSURANCE AS STATED IN THIS POLICY.

    FORMS APPLICABLE TO ALL COVERAGE PARTS:
    IL0017        11/98 COMMON POLICY CONDITIONS
    IA102A        09/08 SUMMARY OF PREMIUMS CHARGED
    IA904         04/04 SCHEDULE OF LOCATIONS
    IA4236        06/20 POLICYHOLDER NOTICE TERRORISM INSURANCE COVERAGE
    IA4521        03/20 NOTICE OF PRIVACY PRACTICES
    IP446         08/01 NOTICE TO POLICYHOLDERS
    IA4121OH      01/16 OHIO CHANGES - CANCELLATION AND NONRENEWAL
    IA4238        01/15 CAP ON LOSSES FROM CERTIFIED ACTS OF TERRORISM
    IA4338        05/11 SIGNATURE ENDORSEMENT
    FM502         07/08 COMMERCIAL PROPERTY COVERAGE PART DECLARATIONS
    GA532         07/08 COMMERCIAL GENERAL LIABILITY COVERAGE PART DECLARATIONS
    GA536OH       03/10 OHIO EMPLOYERS LIABILITY DEFENSE EXPENSES COVERAGE PART
                        DECLARATIONS
    USC513        05/10 COMMERCIAL UMBRELLA LIABILITY COVERAGE PART DECLARATIONS



   Countersigned        04/08/2021                       By
                                       (Date)                                  (Authorized Repres
                                                                                           Representative)
                                                                                              r entativ



   IA 509 01 12                                                                                 Page 1 of    1
                                                               EPP 057 45 07
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21-61491-tnap      Doc 347-2     FILED 06/21/24       ENTERED 06/21/24 09:02:23              Page 6 of 50
                                    EXHIBIT 2 to Declaration




serial       Unit Type                                   Qty   Cost Per Unit Value                                  Product   Description
                                                                                                                              Jungle Cat Module ‐ produced by SQRL XILINX based
                                                                                                                              High bandwidth memory board used for crypto mining
                                                                                                                              ‐ prices are based on replacement cost to build
J19L000331   JCM35          JCM35                       176 $     1,615.93 $          284,402.98                    JCM35
                                                                                                                              Jungle Cat Module ‐ produced by SQRL Intel based
                                                                                                                              High bandwidth memory board used for crypto mining
                                                                                                                              ‐ prices are based on replacement cost to build
J19L000192   JCM35          M2116                         33 $    1,721.42 $           56,806.98                    M2116

                                                                                                                              The SQRL Carrier is a piece of hardware that enables
                                                                                                                              the above modules to operate. The carrier holds 2
J19L000156   JCM35          Carrier                       70 $      215.86 $           15,110.10                    Carrier   modules . Price is based on replacement cost to build.
J19L000301   JCM35
J19L000584   JCM35
J19L000321   JCM35          Total                                            $        356,320.05
J19L000683   JCM35
J21S003636   JCM35
J20L002390   JCM35
J21S003010   JCM35
J20L002156   JCM35          Ownership
E20S000013 Carrier                        JS Mining                      78 JCM35                  $   126,042.23
E21S003114 Carrier                        JS Mining                      35 Carrier                $     7,555.05
E21S002403 Carrier                        Alignment Engine               98 JCM35                  $   158,360.75
E20S000079 Carrier                        Alignment Engine               33 M2116                  $    56,806.98
E20S000338 Carrier                        Alignment Engine               35 Carrier                $     7,555.05
J19L001392   JCM35
J20L002082   JCM35
J21S003039   JCM35
J20L001714   JCM35
J20L001743   JCM35
J21S003253   JCM35
J21S003038   JCM35
J20L002174   JCM35
J21S003159   JCM35
J20L002195   JCM35
J19L001519   JCM35
J20L002418   JCM35
J20L002114   JCM35
J20L002507   JCM35
J20L001765   JCM35
J19L001436   JCM35
J19L000882   JCM35
J21S003100   JCM35
J20L002114   JCM35
J19L001516   JCM35
J21S003067   JCM35
J21S003004   JCM35
J20L002317   JCM35
J20L001885   JCM35
J21S003089   JCM35
J20L001893   JCM35
J20L001764   JCM35
J21S003344   JCM35
J19L001107   JCM35
J20L001973   JCM35
J21S003799   JCM35
J21S003039   JCM35
J21S003037   JCM35
J21S003007   JCM35
J19L001182   JCM35
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M20S0000065 M2116
M20S0000101 M2116
M20S0000069 M2116
M20S0000063 M2116
M20S0000088 M2116
M20S0000091 M2116
M20S0000044 M2116
M20S0000040 M2116
M20S000021 M2116
M20S0000074 M2116
M20S0000070 M2116
M20S0000110 M2116
M20S0000047 M2116
M20S0000068 M2116
M20S0000072 M2116
M20S0000045 M2116
M20S0000071 M2116
M20S0000089 M2116
M20S0000106 M2116
M20S0000041 M2116
M20S0000066 M2116
M20S0000086 M2116
M20S0000059 M2116
M20S0000093 M2116
M20S0000078 M2116
M20S0000105 M2116
M20S0000073 M2116
M20S0000062 M2116
M20S0000097 M2116
M20S0000043 M2116
M20S0000061 M2116




   21-61491-tnap         Doc 347-2               FILED 06/21/24                            ENTERED 06/21/24 09:02:23                                 Page 7 of 50
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E21S003486 Carrier
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E21S003062 Carrier
E21S003198 Carrier
E21S003245 Carrier
E21S003390 Carrier
E20S000655 Carrier
E20S000417 Carrier
E20S000457 Carrier
E21S004365 Carrier
E20S001378 Carrier
E20S000490 Carrier
E20S000606 Carrier
E21S003716 Carrier
E20S000479 Carrier
E20S000753 Carrier
E20S000436 Carrier
E20S000570 Carrier
E20S001373 Carrier
E20S000137 Carrier
E20S000073 Carrier
E20S000184 Carrier
E20S000603 Carrier
E21S002469 Carrier
E21S003133 Carrier
E20S000491 Carrier
E21S004384 Carrier
E20S000258 Carrier
E20S000103 Carrier
E21S003126 Carrier
E21S003240 Carrier
E21S003257 Carrier
E20S000901 Carrier
E20S000458 Carrier
E20S001390 Carrier
E21S004487 Carrier
E21S003774 Carrier
E21S003885 Carrier
E20S001001 Carrier
E21S002343 Carrier
E21S002461 Carrier
E21S002441 Carrier
E21S002430 Carrier
E20S001123 Carrier
E21S002463 Carrier
E21S002450 Carrier
E21S002464 Carrier
E21S002366 Carrier
E21S002447 Carrier
E21S002448 Carrier
E21S002458 Carrier
E21S002466 Carrier
E21S002429 Carrier
E21S002415 Carrier
E21S002432 Carrier
E21S002401 Carrier
E21S002413 Carrier
J19L000907  JCM35
J19L000838  JCM35
J19L000941  JCM35
J19L000734  JCM35
J19L000671  JCM35
J19L000685  JCM35
J21S004914  JCM35
J19L000741  JCM35
J19L000689  JCM35
J19L000825  JCM35
J19L000645  JCM35
J19L000844  JCM35
J19L000835  JCM35
J19L000679  JCM35
J19L000874  JCM35
J19L000961  JCM35
J19L000777  JCM35
J19L000936  JCM35
J19L000967  JCM35
J19L000750  JCM35
J19L000999  JCM35
J19L000778  JCM35
J19L000837  JCM35
J19L000912  JCM35
J19L000634  JCM35
J19L000743  JCM35
J19L000945  JCM35
J19L000672  JCM35
J19L000682  JCM35
J19L000667  JCM35
J19L001009  JCM35
J19L000984  JCM35
J21S006190  JCM35
J19L000862  JCM35
J19L000727  JCM35




  21-61491-tnap      Doc 347-2   FILED 06/21/24   ENTERED 06/21/24 09:02:23   Page 8 of 50
J19L000917  JCM35
J19L001006  JCM35
E21S002358 Carrier
E20S000446 Carrier
E20S000341 Carrier
E20S000180 Carrier
E20S000306 Carrier
J21S003594  JCM35
M21S0000394 M2116
J21S003097  JCM35
J20L001686  JCM35
J21S003040  JCM35
J21S003212  JCM35
J20L002378  JCM35
J21S003284  JCM35
J19L001380  JCM35
J19L001259  JCM35
J19L001102  JCM35
J21S003395  JCM35
J19L001214  JCM35
J21S003321  JCM35
J19L001341  JCM35
J19L001330  JCM35
J20L002506  JCM35
J19L001133  JCM35
J19L001213  JCM35
J20L002490  JCM35
J21S003016  JCM35
J19L001328  JCM35
J20L002567  JCM35
J21S003082  JCM35
J21S003028  JCM35
J20L002526  JCM35
J20L002424  JCM35
J19L001253  JCM35
J19L001188  JCM35
J20L002079  JCM35
J20L001942  JCM35
J20L001640  JCM35
J20L001780  JCM35
J20L002076  JCM35
J20L001654  JCM35
J20L002011  JCM35
J21S003062  JCM35
J21S003053  JCM35
J19L001025  JCM35
J20L002550  JCM35
J20L002455  JCM35
J20L002519  JCM35
E20S000210 Carrier
E20S000531 Carrier
E20S000416 Carrier
J19L001513  JCM35
J20L002571  JCM35
J19L001492  JCM35
J21S003242  JCM35
J21S003403  JCM35
J20L001786  JCM35
J20L001779  JCM35
J20L001940  JCM35
J20L001900  JCM35
J19L001166  JCM35
J21S003029  JCM35
J21S003276  JCM35
J20L001992  JCM35
J20L002487  JCM35
J19L001419  JCM35
J19L001118  JCM35
J20L001793  JCM35
J19L001569  JCM35
J21S003205  JCM35
J21S003066  JCM35
J19L001149  JCM35
J19L001378  JCM35
J19L001413  JCM35
J20L002313  JCM35
J21S003068  JCM35
J20L001843  JCM35
J21S003079  JCM35
J21S003022  JCM35
J21S003152  JCM35
J19L001527  JCM35
J20L001759  JCM35
J20L001751  JCM35
J21S003098  JCM35
J20L002168  JCM35
J21S003087  JCM35
J20L001832  JCM35
J20L002005  JCM35
J20L002590  JCM35
J19L000923  JCM35
J21S003230  JCM35
J21S003037  JCM35
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  21-61491-tnap      Doc 347-2   FILED 06/21/24   ENTERED 06/21/24 09:02:23   Page 9 of 50
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 21-61491-tnap       Doc 347-2   FILED 06/21/24   ENTERED 06/21/24 09:02:23   Page 10 of 50
                                      EXHIBIT 3 to Declaration


                                         HOSTING AGREEMENT

  This Hosting Agreement (the "Agreement") is effective on ___
                                                            4.30 2021 (“Effective Date”) by and
  between Midwest Data Center (“Seller”) and (collectively, the “Purchaser”). This Agreement applies
  to orders and purchases of Hosting services (“Hosting”) sold by the Seller to Purchaser and the
  maintenance and servicing of Hosted JCM35 (“Products”). Purchaser accepts the terms and
  conditions contained in this Agreement.

  1. Products. Purchaser agrees to purchase, and Seller agrees to sell, Hosting services to include
  power, rigs and support and service.


  1.1. Service. Seller will provide a private login to Purchaser to manage Hosted Products, which
  private login must be kept confidential and used by Purchaser only.

  2. Prices and Payment Terms. Starting May 1 2021, Purchaser agrees to pay $0.40 per day per
  each Hosted JCM35, which is exclusive of taxes and shipping. Seller will automatically issue
  Purchaser monthly invoices through the Hosting Portal that shall be paid upon receipt and all
  amounts are payable in U.S. Dollars in immediately available funds. If no payment is received within
  7 days of receipt, Seller will take over the hosted Product inventory until costs are recovered and will
  take over permanently if costs are not recovered within 60 days or before termination. For purposes
  of clarification, the Hosting shall begin on April 1, 2021, and the first month of Hosting is provided
  without charge.

  3. Term. The term of this Agreement (the “Term”) shall be for one (1) year starting on the Effective
  Date unless terminated earlier pursuant to Part 4 hereof. This Agreement will terminate automatically
  at the end of the Term, unless renewed by Purchaser.

  4. Termination. This Agreement may be terminated at any time by either party if the other party is in
  breach of the Agreement and the party in breach does not fully correct the breach within thirty (30)
  days after receiving written notice of the breach from the non-defaulting party.


  4.1. Transfer of Service. If Purchaser sells the hosted Products to a third party, this contract will be
  terminated, there will be a $50 transfer of service fee, to be paid by the third party purchaser, and a
  new contract will be issued to the third party with similar terms set forth in this Agreement.

  5. Shipping. Shipping of Product is only available at the end of a Term and Purchaser must elect to
  have the Product shipped within 5 business days. Purchaser will pay shipping costs to Seller prior to
  the shipment of Products. Seller has up to 10 business days to ship the hosted inventory upon
  payment from Purchaser.

  6. Warranty; Manufacturer/Supplier Warranties; Disclaimer of Warranties. Products come with a
  full warranty for the initial hosting Term (“Warranty Period”) covering the Product including, but not
  limited to, any parts, materials, workmanship, components, and material defects of the Product.
  Seller will provide a temporary replacement Host during any downtime. Other than the warranties set
  forth in this section, the Hosting and Product are being provided to Purchaser “AS-IS” without any
  express or implied warranty of any kind, including, but not limited to, any warranties of
  merchantability, non-infringement, or fitness of a particular purpose. No oral or written information
  given by Seller or any of Seller’s authorized representatives shall create a warranty.




21-61491-tnap     Doc 347-2       FILED 06/21/24       ENTERED 06/21/24 09:02:23              Page 11 of 50
  7. Hardware Maintenance. Seller will provide service for maintenance and repairs for all Hosted
  Products as needed for the life of this Agreement.

  8. NO Right to Cancellation. Intentionally omitted.

  9. Insurance. Seller will provide reasonable insurance on hosted Products during the period of this
  contract.

  10. Limitation of Liability. Limitation of Liability. In addition to other provisions limiting the liability of
  Seller in this Agreement, Purchaser waives any right to incidental or consequential damages,
  including, but not limited to, lost profits or revenues, related to this Agreement; and Seller is only
  liable to Purchaser for the total amount paid by Purchaser under this Agreement.

  11. Notices. Any notice required under this Agreement shall be delivered, in writing, to the Seller or
  Purchaser as follows, which may be updated from time to time by the parties:
  Seller:
  Midwest Data Center
  8050 Freedom Ave NW
  Unit B
  North Canton, OH 44720

  Purchaser:
  Michael Maranda

  12. Assignment, Binding on Successor and Assigns. The Purchaser may assign all or any
  portion of its rights or obligations with respect to the Hosting or Products or under this Agreement or
  any of its rights or obligations only with the prior written consent of Seller. This Agreement will be
  binding on and inure to the benefit of the parties hereto and their successors and assigns.

  13. Miscellaneous.
  13.1. Relationship of the Parties. Both parties agree and declare that their association for the
  carrying on of this Agreement does not, and is not intended to create a partnership, for either legal or
  taxation purposes. The parties agree to work together to accomplish the objectives of this agreement
  but neither party shall be obligated to offer any business opportunities or to conduct business
  exclusively with the other party by virtue of this Agreement. Each party shall each be responsible for
  the taxes on their respective portion of any benefits received pursuant to this Agreement. The parties
  hereto covenant and agree that they will each execute such other and further instruments and
  documents as are or may become reasonably necessary or convenient to effectuate and carry out
  the purposes of this Agreement.
  13.2. Force Majeure. No party shall be liable for any delay or failure to meet its obligations under
  this Agreement, directly or indirectly, resulting from delays by an Act of God, outbreak of hostility
  (whether or not war is declared), insurrection, riot, civil disturbance, vandalism, Government Act or
  Regulation, fire, flood, accident, theft, strike, lock-out or trade dispute, shortage of or inability to
  secure materials, supplies, and labor; or other causes beyond the control of the Parties.
  13.3. Mutual Confidentiality Covenants. Both parties, as the receiving parties, shall have access
  to certain information and materials which are not made publicly available and are of value to the
  producing party (“Confidential Information”). Both parties agree that they will not use Confidential
  Information in any way other than as expressly permitted by this Agreement nor will they disclose
  Confidential Information to any third-party. Upon the expiration or termination of this Agreement,
  each party agrees that it will either return to the producing party or destroy all copies of Confidential
  Information. Upon any breach or threatened breach of this provision, the producing party shall be
  entitled to injunctive relief in addition to any other remedies.




21-61491-tnap      Doc 347-2        FILED 06/21/24         ENTERED 06/21/24 09:02:23               Page 12 of 50
  13.4. Entire Agreement. This Agreement constitutes the entire Agreement between the parties
  regarding the Hosting and servicing of Products from the Seller and supersedes and replaces any
  previous communications, representations, or agreements, whether oral or written. No provision of
  this Agreement may be waived, amended, or modified by either party except in writing signed by
  both parties. Any delay or failure by either party to exercise any right or remedy will not constitute a
  waiver of that party to thereafter enforce such rights. If any provision of this agreement is found by a
  court of competent jurisdiction to be invalid, illegal, or unenforceable, all other provisions will still
  remain in effect.
  13.5. Governing Law and Venue. This Agreement will be governed by the substantive laws of the
  state of Ohio without giving effect to any choice of law rules. Both parties specifically agree to submit
  to the exclusive jurisdiction of, and venue in, the courts in Stark County, Ohio in any dispute arising
  out of or relating to this Agreement, the Hosting services or products.




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 Midwest Data Center


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 Michael Maranda




21-61491-tnap     Doc 347-2       FILED 06/21/24        ENTERED 06/21/24 09:02:23             Page 13 of 50
                                                   EXHIBIT 4 to Declaration




Serial        Status    Location   As of 7/20/21                                                               Total         Number Affected    Module Count Expected "On Network" (Doesn't mean hashing)
J21S0004745   Offline   QA         Online                2247                 Offline day before fire                  142                142      2958
J19L0001018   Online    Skymax     Offline                853                 Offline after fire                       636                494      2464
J19L0001019   Offline   8050O      Total                 3100                 Offline after water line burst           853                217      2247
J19L0001020   Online    Skymax
J19L0001021   Online    Skymax
J19L0001023   Offline   8050O
J19L0001025   Offline   8050O
J19L0001026   Online    Skymax
J19L0001027   Offline   8050O
J19L0001028   Offline   8050O
J19L0001030   Offline   8050O
J19L0001031   Online    Skymax
J19L0001032   Online    Skymax
J19L0001033   Online    Skymax
J19L0001034   Offline   8050O
J19L0001038   Online    Skymax
J19L0001039   Online    Skymax
J19L0001041   Online    Skymax
J19L0001042   Offline   Skymax
J19L0001043   Online    Skymax
J19L0001044   Offline   8050O
J19L0001045   Offline   8050O
J19L0001046   Offline   8050O
J19L0001048   Online    Skymax
J19L0001049   Online    Skymax
J19L0001050   Offline   8050O
J19L0001051   Online    Skymax
J19L0001054   Offline   8050O
J19L0001055   Online    Skymax
J19L0001056   Online    Skymax
J19L0001057   Offline   8050O
J19L0001058   Online    Skymax
J19L0001059   Online    Skymax
J19L0001062   Online    Skymax
J19L0001064   Online    Skymax
J19L0001067   Offline   8050O
J19L0001068   Offline   8050O
J19L0001069   Offline   8050O
J19L0001070   Online    Skymax
J19L0001071   Online    Skymax
J19L0001074   Offline   8050O
J19L0001075   Online    Skymax
J19L0001083   Offline   8050O
J19L0001084   Online    Skymax
J19L0001085   Offline   8050O
J19L0001086   Online    Skymax
J19L0001087   Offline   8050O
J19L0001088   Online    Skymax
J19L0001090   Offline   8050O
J19L0001091   Offline   8050O
J19L0001093   Online    Skymax
J19L0001094   Online    Skymax
J19L0001096   Online    Skymax
J19L0001097   Online    Skymax
J19L0001098   Offline   8050N
J19L0001099   Online    Skymax
J19L0001101   Online    Skymax
J19L0001102   Offline   8050O
J19L0001103   Offline   8050O
J19L0001105   Online    Skymax
J19L0001106   Online    Skymax
J19L0001107   Offline   8050O
J19L0001108   Offline   8050O
J19L0001109   Online    Skymax
J19L0001112   Offline   8050O
J19L0001114   Offline   8050O
J19L0001115   Online    Skymax
J19L0001116   Online    Skymax
J19L0001117   Offline   8050O
J19L0001118   Offline   8050O
J19L0001119   Offline   Skymax
J19L0001120   Online    Skymax
J19L0001121   Offline   Skymax
J19L0001123   Online    Skymax
J19L0001125   Offline   8050O
J19L0001126   Online    Skymax
J19L0001127   Online    Skymax
J19L0001128   Online    Skymax
J19L0001129   Online    Skymax
J19L0001131   Offline   8050O
J19L0001132   Offline   8050O
J19L0001133   Offline   8050O
J19L0001134   Offline   8050O
J19L0001135   Online    Skymax
J19L0001137   Offline   8050O
J19L0001138   Offline   8050O
J19L0001139   Offline   8050O
J19L0001140   Online    Skymax
J19L0001141   Offline   8050N
J19L0001144   Online    Skymax
J19L0001145   Offline   8050O
J19L0001148   Offline   8050O
J19L0001149   Offline   8050O
J19L0001150   Online    Skymax
J19L0001152   Online    Skymax
J19L0001154   Online    Skymax
J19L0001155   Offline   8050O
J19L0001157   Offline   8050O
J19L0001158   Online    Skymax
J19L0001159   Offline   8050O




 21-61491-tnap                      Doc 347-2                         FILED 06/21/24                                   ENTERED 06/21/24 09:02:23                                       Page 14 of 50
J19L0001162   Online    Skymax
J19L0001163   Online    Skymax
J19L0001164   Offline   8050O
J19L0001165   Offline   8050O
J19L0001166   Offline   8050O
J19L0001167   Offline   8050O
J19L0001168   Online    Skymax
J19L0001169   Offline   8050O
J19L0001170   Offline   8050O
J19L0001171   Offline   8050O
J19L0001172   Online    Skymax
J19L0001173   Offline   QA
J19L0001174   Online    Skymax
J19L0001176   Offline   8050O
J19L0001177   Offline   8050O
J19L0001179   Online    Skymax
J19L0001181   Online    Skymax
J19L0001182   Offline   8050O
J19L0001183   Online    Skymax
J19L0001184   Online    Skymax
J19L0001185   Offline   8050O
J19L0001186   Online    Skymax
J19L0001187   Offline   8050O
J19L0001188   Offline   8050O
J19L0001189   Offline   8050O
J19L0001190   Offline   8050O
J19L0001191   Online    Skymax
J19L0001192   Online    Skymax
J19L0001193   Online    Skymax
J19L0001194   Online    Skymax
J19L0001195   Online    Skymax
J19L0001198   Online    Skymax
J19L0001199   Online    Skymax
J19L0001201   Offline   8050O
J19L0001202   Online    Skymax
J19L0001204   Online    Skymax
J19L0001205   Online    Skymax
J19L0001206   Online    Skymax
J19L0001207   Online    Skymax
J19L0001208   Online    Skymax
J19L0001209   Offline   8050O
J19L0001210   Offline   8050O
J19L0001211   Offline   8050O
J19L0001212   Offline   Skymax
J19L0001213   Offline   8050O
J19L0001214   Offline   8050O
J19L0001215   Offline   8050O
J19L0001216   Online    Skymax
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J19L0001219   Offline   8050O
J19L0001220   Online    Skymax
J19L0001222   Online    Skymax
J19L0001224   Online    Skymax
J19L0001225   Online    Skymax
J19L0001226   Online    Skymax
J19L0001228   Offline   8050O
J19L0001229   Online    Skymax
J19L0001230   Offline   8050O
J19L0001231   Online    Skymax
J19L0001232   Offline   8050O
J19L0001233   Online    Skymax
J19L0001234   Online    Skymax
J19L0001236   Online    8050O
J19L0001237   Online    Skymax
J19L0001238   Offline   8050O
J19L0001239   Offline   8050O
J19L0001240   Offline   8050O
J19L0001241   Online    Skymax
J19L0001244   Online    Skymax
J19L0001245   Online    Skymax
J19L0001247   Online    Skymax
J19L0001248   Online    Skymax
J19L0001249   Online    Skymax
J19L0001250   Online    Skymax
J19L0001251   Online    Skymax
J19L0001252   Offline   8050O
J19L0001253   Offline   8050O
J19L0001254   Online    Skymax
J19L0001255   Online    Skymax
J19L0001256   Offline   8050O
J19L0001258   Online    Skymax
J19L0001259   Offline   8050O
J19L0001260   Online    Skymax
J19L0001261   Online    Skymax
J19L0001263   Offline   8050O
J19L0001264   Online    Skymax
J19L0001268   Online    Skymax
J19L0001269   Online    Skymax
J19L0001270   Online    Skymax
J19L0001271   Offline   8050O
J19L0001272   Offline   8050O
J19L0001273   Offline   8050O
J19L0001274   Offline   QA
J19L0001276   Offline   8050O
J19L0001277   Online    Skymax
J19L0001278   Offline   8050O
J19L0001279   Offline   8050O
J19L0001280   Offline   8050O
J19L0001281   Offline   8050O
J19L0001282   Online    Skymax




 21-61491-tnap                   Doc 347-2   FILED 06/21/24   ENTERED 06/21/24 09:02:23   Page 15 of 50
J19L0001283   Online    Skymax
J19L0001284   Online    Skymax
J19L0001286   Online    Skymax
J19L0001287   Online    Skymax
J19L0001288   Online    Skymax
J19L0001289   Online    Skymax
J19L0001290   Online    Skymax
J19L0001292   Online    Skymax
J19L0001293   Offline   8050O
J19L0001294   Online    Skymax
J19L0001298   Online    Skymax
J19L0001300   Online    Skymax
J19L0001301   Offline   8050O
J19L0001303   Offline   8050O
J19L0001304   Online    Skymax
J19L0001305   Online    Skymax
J19L0001306   Online    Skymax
J19L0001307   Offline   Skymax
J19L0001308   Online    Skymax
J19L0001309   Online    Skymax
J19L0001310   Online    Skymax
J19L0001311   Offline   8050O
J19L0001312   Online    Skymax
J19L0001313   Offline   8050N
J19L0001314   Offline   8050O
J19L0001316   Offline   8050O
J19L0001317   Online    Skymax
J19L0001318   Offline   8050O
J19L0001319   Offline   8050O
J19L0001320   Offline   8050O
J19L0001321   Online    Skymax
J19L0001322   Online    Skymax
J19L0001323   Offline   8050O
J19L0001325   Online    Skymax
J19L0001327   Offline   8050O
J19L0001328   Offline   8050O
J19L0001329   Online    Skymax
J19L0001330   Offline   8050O
J19L0001331   Online    Skymax
J19L0001332   Online    Skymax
J19L0001333   Offline   8050O
J19L0001334   Offline   8050O
J19L0001335   Online    Skymax
J19L0001336   Offline   8050O
J19L0001337   Offline   8050O
J19L0001338   Offline   8050O
J19L0001339   Offline   8050O
J19L0001341   Offline   8050O
J19L0001342   Offline   8050O
J19L0001343   Online    Skymax
J19L0001344   Online    Skymax
J19L0001345   Online    Skymax
J19L0001346   Offline   Skymax
J19L0001348   Online    Skymax
J19L0001349   Offline   8050O
J19L0001350   Offline   8050O
J19L0001351   Online    Skymax
J19L0001352   Online    Skymax
J19L0001353   Offline   Skymax
J19L0001354   Online    Skymax
J19L0001355   Offline   QA
J19L0001357   Online    Skymax
J19L0001358   Online    Skymax
J19L0001359   Online    Skymax
J19L0001360   Online    Skymax
J19L0001365   Online    Skymax
J19L0001367   Online    Skymax
J19L0001368   Online    Skymax
J19L0001369   Offline   8050O
J19L0001372   Offline   8050O
J19L0001373   Offline   8050O
J19L0001374   Online    Skymax
J19L0001375   Online    Skymax
J19L0001377   Offline   8050O
J19L0001378   Offline   8050O
J19L0001379   Online    Skymax
J19L0001380   Offline   8050O
J19L0001381   Online    Skymax
J19L0001382   Offline   8050N
J19L0001383   Offline   8050O
J19L0001384   Offline   8050O
J19L0001385   Online    Skymax
J19L0001386   Offline   8050O
J19L0001387   Offline   8050O
J19L0001388   Online    Skymax
J19L0001389   Offline   8050O
J19L0001390   Online    Skymax
J19L0001392   Offline   8050O
J19L0001393   Online    Skymax
J19L0001394   Offline   8050O
J19L0001395   Online    Skymax
J19L0001397   Online    Skymax
J19L0001398   Online    Skymax
J19L0001399   Online    Skymax
J19L0001400   Online    Skymax
J19L0001401   Online    Skymax
J19L0001402   Online    Skymax
J19L0001404   Offline   8050O
J19L0001406   Online    Skymax
J19L0001407   Offline   8050O
J19L0001408   Online    Skymax




 21-61491-tnap                   Doc 347-2   FILED 06/21/24   ENTERED 06/21/24 09:02:23   Page 16 of 50
J19L0001409   Online    Skymax
J19L0001411   Online    Skymax
J19L0001412   Online    Skymax
J19L0001413   Offline   8050O
J19L0001414   Online    Skymax
J19L0001415   Online    Skymax
J19L0001416   Offline   8050O
J19L0001417   Offline   8050O
J19L0001418   Online    Skymax
J19L0001419   Offline   8050O
J19L0001420   Online    Skymax
J19L0001422   Online    Skymax
J19L0001423   Offline   8050O
J19L0001424   Offline   8050O
J19L0001425   Online    Skymax
J19L0001426   Online    Skymax
J19L0001427   Online    Skymax
J19L0001428   Online    Skymax
J19L0001430   Online    Skymax
J19L0001431   Offline   8050O
J19L0001432   Online    Skymax
J19L0001434   Online    Skymax
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J19L0001436   Offline   8050O
J19L0001439   Online    Skymax
J19L0001440   Online    Skymax
J19L0001441   Offline   8050O
J19L0001442   Online    Skymax
J19L0001445   Online    Skymax
J19L0001447   Offline   Skymax
J19L0001449   Online    Skymax
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J19L0001451   Online    Skymax
J19L0001454   Online    Skymax
J19L0001455   Online    Skymax
J19L0001456   Offline   8050O
J19L0001461   Online    Skymax
J19L0001462   Online    Skymax
J19L0001463   Online    Skymax
J19L0001464   Offline   8050O
J19L0001467   Offline   QA
J19L0001468   Online    Skymax
J19L0001470   Online    Skymax
J19L0001471   Offline   8050O
J19L0001472   Offline   8050O
J19L0001473   Online    Skymax
J19L0001475   Offline   8050O
J19L0001477   Offline   8050O
J19L0001478   Online    Skymax
J19L0001479   Online    Skymax
J19L0001481   Offline   8050O
J19L0001482   Online    Skymax
J19L0001484   Offline   8050O
J19L0001485   Online    Skymax
J19L0001487   Online    Skymax
J19L0001490   Online    Skymax
J19L0001491   Offline   Skymax
J19L0001492   Offline   8050O
J19L0001493   Online    Skymax
J19L0001494   Online    Skymax
J19L0001495   Offline   8050O
J19L0001496   Offline   8050O
J19L0001498   Offline   8050O
J19L0001501   Online    Skymax
J19L0001502   Offline   8050O
J19L0001503   Online    Skymax
J19L0001504   Offline   8050O
J19L0001505   Online    Skymax
J19L0001507   Online    Skymax
J19L0001508   Online    Skymax
J19L0001509   Online    Skymax
J19L0001510   Online    Skymax
J19L0001511   Online    Skymax
J19L0001512   Online    Skymax
J19L0001513   Offline   8050O
J19L0001514   Offline   8050O
J19L0001515   Offline   8050O
J19L0001516   Offline   8050O
J19L0001518   Offline   8050O
J19L0001519   Offline   8050O
J19L0001521   Offline   8050N
J19L0001522   Online    Skymax
J19L0001523   Offline   8050O
J19L0001524   Online    Skymax
J19L0001526   Offline   8050O
J19L0001527   Offline   8050O
J19L0001529   Offline   8050O
J19L0001530   Online    Skymax
J19L0001532   Online    Skymax
J19L0001533   Online    Skymax
J19L0001534   Online    Skymax
J19L0001536   Online    Skymax
J19L0001537   Online    Skymax
J19L0001539   Online    Skymax
J19L0001540   Online    Skymax
J19L0001542   Offline   8050O
J19L0001543   Offline   8050O
J19L0001544   Online    Skymax
J19L0001545   Offline   Skymax
J19L0001547   Online    Skymax
J19L0001548   Online    Skymax




 21-61491-tnap                   Doc 347-2   FILED 06/21/24   ENTERED 06/21/24 09:02:23   Page 17 of 50
J19L0001549   Online    Skymax
J19L0001550   Online    Skymax
J19L0001551   Online    Skymax
J19L0001552   Offline   8050O
J19L0001553   Offline   8050N
J19L0001554   Online    Skymax
J19L0001556   Offline   8050O
J19L0001558   Online    Skymax
J19L0001559   Online    Skymax
J19L0001560   Online    Skymax
J19L0001561   Online    Skymax
J19L0001563   Offline   QA
J19L0001565   Online    Skymax
J19L0001567   Offline   8050O
J19L0001569   Offline   8050O
J19L0001570   Online    Skymax
J19L0001571   Online    Skymax
J19L0001572   Offline   QA
J19L0001573   Online    Skymax
J19L0001574   Online    Skymax
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J19L0001577   Offline   8050O
J19L0001578   Online    Skymax
J19L0001579   Online    Skymax
J19L0001580   Online    Skymax
J19L0001582   Offline   8050O
J19L0001583   Online    Skymax
J19L0001584   Online    Skymax
J19L0001586   Offline   8050O
J19L0001587   Online    Skymax
J19L0001588   Online    Skymax
J19L0001589   Online    Skymax
J19L0001590   Online    Skymax
J19L0001591   Online    Skymax
J19L0001593   Online    Skymax
J19L0001595   Offline   8050O
J19L0001596   Online    Skymax
J19L0001600   Online    Skymax
J19L0001601   Offline   8050O
J20L0001603   Online    Skymax
J20L0001604   Online    Skymax
J20L0001608   Offline   8050O
J20L0001610   Online    Skymax
J20L0001611   Offline   Skymax
J20L0001612   Offline   8050O
J20L0001613   Online    Skymax
J20L0001614   Online    Skymax
J20L0001615   Online    Skymax
J20L0001616   Offline   8050O
J20L0001617   Online    Skymax
J20L0001618   Offline   8050O
J20L0001619   Offline   8050O
J20L0001620   Online    Skymax
J20L0001621   Online    Skymax
J20L0001622   Offline   8050O
J20L0001623   Online    Skymax
J20L0001624   Online    Skymax
J20L0001625   Offline   8050O
J20L0001626   Offline   8050O
J20L0001627   Online    Skymax
J20L0001628   Offline   8050O
J20L0001630   Online    Skymax
J20L0001631   Online    Skymax
J20L0001632   Online    Skymax
J20L0001633   Offline   8050O
J20L0001634   Offline   8050O
J20L0001635   Online    Skymax
J20L0001636   Offline   8050O
J20L0001638   Online    Skymax
J20L0001640   Offline   8050O
J20L0001641   Online    Skymax
J20L0001642   Online    Skymax
J20L0001643   Online    Skymax
J20L0001644   Offline   8050O
J20L0001645   Offline   8050O
J20L0001646   Offline   Skymax
J20L0001647   Online    Skymax
J20L0001648   Online    Skymax
J20L0001650   Online    Skymax
J20L0001651   Online    Skymax
J20L0001652   Online    Skymax
J20L0001653   Online    Skymax
J20L0001654   Offline   8050O
J20L0001655   Online    Skymax
J20L0001656   Online    Skymax
J20L0001657   Online    Skymax
J20L0001658   Online    Skymax
J20L0001659   Online    Skymax
J20L0001660   Offline   8050O
J20L0001661   Online    Skymax
J20L0001662   Online    Skymax
J20L0001663   Online    Skymax
J20L0001664   Online    Skymax
J20L0001665   Online    Skymax
J20L0001666   Online    Skymax
J20L0001668   Offline   8050O
J20L0001669   Online    Skymax
J20L0001670   Online    Skymax
J20L0001671   Online    Skymax
J20L0001672   Offline   8050O




 21-61491-tnap                   Doc 347-2   FILED 06/21/24   ENTERED 06/21/24 09:02:23   Page 18 of 50
J20L0001673   Online    Skymax
J20L0001674   Online    Skymax
J20L0001675   Online    Skymax
J20L0001676   Online    Skymax
J20L0001677   Online    Skymax
J20L0001678   Online    Skymax
J20L0001679   Online    Skymax
J20L0001680   Online    Skymax
J20L0001681   Online    Skymax
J20L0001682   Online    Skymax
J20L0001683   Online    Skymax
J20L0001684   Online    Skymax
J20L0001685   Online    Skymax
J20L0001686   Offline   8050O
J20L0001687   Online    Skymax
J20L0001688   Online    Skymax
J20L0001689   Online    Skymax
J20L0001690   Online    Skymax
J20L0001691   Online    Skymax
J20L0001692   Offline   8050O
J20L0001693   Online    Skymax
J20L0001694   Online    Skymax
J20L0001695   Online    Skymax
J20L0001696   Offline   8050O
J20L0001697   Offline   8050O
J20L0001698   Offline   8050O
J20L0001699   Online    Skymax
J20L0001700   Offline   Skymax
J20L0001701   Online    Skymax
J20L0001702   Online    Skymax
J20L0001703   Online    Skymax
J20L0001704   Online    Skymax
J20L0001705   Online    Skymax
J20L0001706   Offline   8050O
J20L0001707   Online    Skymax
J20L0001708   Offline   8050O
J20L0001709   Offline   8050O
J20L0001710   Online    Skymax
J20L0001711   Online    Skymax
J20L0001712   Online    Skymax
J20L0001713   Offline   8050O
J20L0001714   Offline   8050O
J20L0001715   Offline   Skymax
J20L0001716   Offline   8050O
J20L0001717   Online    Skymax
J20L0001718   Online    Skymax
J20L0001719   Offline   8050O
J20L0001720   Online    Skymax
J20L0001721   Online    Skymax
J20L0001722   Online    Skymax
J20L0001723   Online    Skymax
J20L0001724   Online    Skymax
J20L0001725   Online    Skymax
J20L0001727   Offline   8050O
J20L0001728   Online    Skymax
J20L0001729   Online    Skymax
J20L0001730   Offline   8050O
J20L0001731   Offline   8050O
J20L0001732   Offline   8050O
J20L0001733   Online    Skymax
J20L0001734   Online    Skymax
J20L0001735   Online    Skymax
J20L0001736   Online    Skymax
J20L0001737   Offline   8050O
J20L0001738   Offline   8050O
J20L0001739   Online    Skymax
J20L0001740   Offline   8050O
J20L0001741   Offline   8050O
J20L0001742   Online    Skymax
J20L0001743   Offline   8050O
J20L0001744   Online    Skymax
J20L0001745   Offline   8050O
J20L0001746   Online    Skymax
J20L0001747   Online    Skymax
J20L0001748   Online    Skymax
J20L0001749   Offline   Skymax
J20L0001749   Offline   Skymax
J20L0001750   Online    Skymax
J20L0001751   Offline   8050O
J20L0001752   Online    Skymax
J20L0001753   Online    Skymax
J20L0001754   Online    Skymax
J20L0001755   Offline   8050O
J20L0001756   Online    Skymax
J20L0001757   Online    Skymax
J20L0001758   Offline   8050O
J20L0001759   Offline   8050O
J20L0001760   Online    Skymax
J20L0001761   Online    Skymax
J20L0001762   Online    Skymax
J20L0001763   Online    Skymax
J20L0001764   Offline   8050O
J20L0001765   Offline   8050O
J20L0001766   Online    Skymax
J20L0001767   Online    Skymax
J20L0001768   Online    Skymax
J20L0001769   Online    Skymax
J20L0001770   Offline   8050O
J20L0001771   Online    Skymax
J20L0001772   Offline   8050O
J20L0001773   Online    Skymax




 21-61491-tnap                   Doc 347-2   FILED 06/21/24   ENTERED 06/21/24 09:02:23   Page 19 of 50
J20L0001774   Online    Skymax
J20L0001775   Online    Skymax
J20L0001776   Online    Skymax
J20L0001777   Online    Skymax
J20L0001778   Online    Skymax
J20L0001779   Offline   8050O
J20L0001780   Offline   8050O
J20L0001781   Online    Skymax
J20L0001782   Offline   8050N
J20L0001783   Offline   8050O
J20L0001784   Online    Skymax
J20L0001785   Online    Skymax
J20L0001786   Offline   8050O
J20L0001787   Online    Skymax
J20L0001788   Offline   Skymax
J20L0001789   Online    Skymax
J20L0001790   Offline   Skymax
J20L0001791   Online    Skymax
J20L0001792   Online    Skymax
J20L0001793   Offline   8050O
J20L0001794   Online    Skymax
J20L0001795   Online    Skymax
J20L0001796   Online    Skymax
J20L0001797   Offline   8050O
J20L0001798   Online    Skymax
J20L0001799   Offline   8050O
J20L0001800   Online    Skymax
J20L0001801   Online    Skymax
J20L0001802   Offline   Skymax
J20L0001803   Offline   8050O
J20L0001804   Offline   8050O
J20L0001805   Online    Skymax
J20L0001806   Online    Skymax
J20L0001807   Online    Skymax
J20L0001808   Online    Skymax
J20L0001809   Online    Skymax
J20L0001810   Online    Skymax
J20L0001811   Online    Skymax
J20L0001812   Online    Skymax
J20L0001813   Online    Skymax
J20L0001814   Online    Skymax
J20L0001815   Online    Skymax
J20L0001817   Online    Skymax
J20L0001818   Offline   8050O
J20L0001819   Online    Skymax
J20L0001821   Online    Skymax
J20L0001822   Offline   8050O
J20L0001823   Online    Skymax
J20L0001824   Online    Skymax
J20L0001825   Online    Skymax
J20L0001826   Online    Skymax
J20L0001827   Online    Skymax
J20L0001828   Online    Skymax
J20L0001829   Online    Skymax
J20L0001830   Offline   Skymax
J20L0001832   Offline   8050O
J20L0001834   Offline   8050O
J20L0001836   Online    Skymax
J20L0001837   Online    Skymax
J20L0001838   Online    Skymax
J20L0001839   Offline   8050O
J20L0001841   Online    Skymax
J20L0001842   Online    Skymax
J20L0001843   Offline   8050O
J20L0001844   Online    Skymax
J20L0001845   Online    Skymax
J20L0001846   Offline   8050O
J20L0001847   Offline   8050O
J20L0001848   Online    Skymax
J20L0001849   Offline   Skymax
J20L0001850   Online    Skymax
J20L0001851   Offline   Skymax
J20L0001852   Online    Skymax
J20L0001853   Online    Skymax
J20L0001854   Online    Skymax
J20L0001855   Online    Skymax
J20L0001856   Offline   8050N
J20L0001857   Online    Skymax
J20L0001858   Online    Skymax
J20L0001859   Online    Skymax
J20L0001860   Online    Skymax
J20L0001861   Online    Skymax
J20L0001862   Online    Skymax
J20L0001863   Online    Skymax
J20L0001864   Online    Skymax
J20L0001865   Online    Skymax
J20L0001867   Online    Skymax
J20L0001868   Online    Skymax
J20L0001869   Online    Skymax
J20L0001870   Offline   8050O
J20L0001871   Online    Skymax
J20L0001872   Online    Skymax
J20L0001873   Online    Skymax
J20L0001874   Online    Skymax
J20L0001875   Online    Skymax
J20L0001876   Offline   Skymax
J20L0001877   Offline   8050O
J20L0001878   Online    Skymax
J20L0001879   Offline   Skymax
J20L0001879   Offline   Skymax
J20L0001880   Online    Skymax




 21-61491-tnap                   Doc 347-2   FILED 06/21/24   ENTERED 06/21/24 09:02:23   Page 20 of 50
J20L0001881   Online    Skymax
J20L0001883   Online    Skymax
J20L0001884   Online    Skymax
J20L0001885   Offline   8050O
J20L0001886   Offline   8050O
J20L0001887   Online    Skymax
J20L0001888   Offline   8050N
J20L0001889   Offline   8050O
J20L0001890   Offline   8050O
J20L0001891   Offline   8050O
J20L0001892   Offline   8050O
J20L0001893   Offline   8050O
J20L0001894   Online    Skymax
J20L0001895   Online    Skymax
J20L0001896   Online    Skymax
J20L0001897   Online    Skymax
J20L0001898   Online    Skymax
J20L0001899   Online    Skymax
J20L0001900   Offline   8050O
J20L0001901   Offline   8050O
J20L0001902   Offline   8050O
J20L0001903   Offline   8050O
J20L0001904   Online    Skymax
J20L0001905   Online    Skymax
J20L0001906   Online    Skymax
J20L0001907   Online    Skymax
J20L0001909   Offline   8050O
J20L0001910   Offline   8050O
J20L0001911   Online    Skymax
J20L0001912   Online    Skymax
J20L0001913   Online    Skymax
J20L0001914   Online    Skymax
J20L0001915   Online    Skymax
J20L0001916   Online    Skymax
J20L0001918   Online    Skymax
J20L0001920   Offline   8050O
J20L0001921   Online    Skymax
J20L0001922   Online    Skymax
J20L0001923   Online    Skymax
J20L0001925   Online    Skymax
J20L0001926   Online    Skymax
J20L0001927   Online    Skymax
J20L0001928   Online    Skymax
J20L0001929   Online    Skymax
J20L0001930   Offline   8050O
J20L0001931   Online    Skymax
J20L0001932   Offline   8050O
J20L0001933   Online    Skymax
J20L0001934   Online    Skymax
J20L0001935   Online    Skymax
J20L0001936   Offline   8050O
J20L0001937   Online    Skymax
J20L0001938   Online    Skymax
J20L0001939   Offline   8050O
J20L0001940   Offline   8050O
J20L0001941   Offline   8050O
J20L0001942   Offline   8050O
J20L0001943   Online    Skymax
J20L0001944   Online    Skymax
J20L0001945   Online    Skymax
J20L0001946   Online    Skymax
J20L0001948   Online    Skymax
J20L0001950   Online    Skymax
J20L0001951   Online    Skymax
J20L0001952   Online    Skymax
J20L0001953   Online    Skymax
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J20L0001959   Online    Skymax
J20L0001960   Online    Skymax
J20L0001961   Online    Skymax
J20L0001962   Online    Skymax
J20L0001963   Online    Skymax
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J20L0001966   Online    Skymax
J20L0001967   Online    Skymax
J20L0001969   Online    Skymax
J20L0001970   Online    Skymax
J20L0001971   Offline   8050O
J20L0001972   Online    Skymax
J20L0001973   Offline   8050O
J20L0001974   Offline   Skymax
J20L0001975   Online    Skymax
J20L0001976   Online    Skymax
J20L0001977   Online    Skymax
J20L0001980   Offline   8050O
J20L0001982   Online    Skymax
J20L0001983   Online    Skymax
J20L0001984   Offline   8050O
J20L0001986   Online    Skymax
J20L0001987   Online    Skymax
J20L0001988   Online    Skymax
J20L0001990   Offline   8050O
J20L0001991   Offline   8050O
J20L0001992   Offline   8050O
J20L0001993   Online    Skymax
J20L0001994   Online    Skymax
J20L0001995   Online    Skymax




 21-61491-tnap                   Doc 347-2   FILED 06/21/24   ENTERED 06/21/24 09:02:23   Page 21 of 50
J20L0001996   Online    Skymax
J20L0001997   Offline   Skymax
J20L0001998   Online    Skymax
J20L0001999   Offline   8050O
J20L0002000   Online    Skymax
J20L0002001   Online    Skymax
J20L0002002   Online    Skymax
J20L0002003   Online    Skymax
J20L0002004   Online    Skymax
J20L0002005   Offline   8050O
J20L0002006   Online    Skymax
J20L0002007   Online    Skymax
J20L0002009   Offline   8050O
J20L0002010   Online    Skymax
J20L0002011   Offline   8050O
J20L0002013   Offline   8050O
J20L0002014   Online    Skymax
J20L0002015   Online    Skymax
J20L0002016   Online    Skymax
J20L0002017   Online    Skymax
J20L0002018   Online    Skymax
J20L0002019   Offline   Skymax
J20L0002020   Online    Skymax
J20L0002021   Online    Skymax
J20L0002023   Offline   8050O
J20L0002024   Offline   8050O
J20L0002025   Offline   Skymax
J20L0002026   Online    Skymax
J20L0002027   Online    Skymax
J20L0002028   Online    Skymax
J20L0002029   Offline   8050O
J20L0002030   Online    Skymax
J20L0002031   Online    Skymax
J20L0002032   Offline   Skymax
J20L0002034   Offline   8050O
J20L0002035   Online    Skymax
J20L0002036   Offline   8050O
J20L0002037   Online    Skymax
J20L0002038   Online    Skymax
J20L0002039   Online    Skymax
J20L0002040   Online    Skymax
J20L0002041   Online    Skymax
J20L0002042   Online    Skymax
J20L0002043   Online    Skymax
J20L0002044   Online    Skymax
J20L0002046   Online    Skymax
J20L0002047   Online    Skymax
J20L0002048   Online    Skymax
J20L0002050   Online    Skymax
J20L0002051   Online    Skymax
J20L0002053   Online    Skymax
J20L0002054   Online    Skymax
J20L0002055   Online    Skymax
J20L0002056   Online    Skymax
J20L0002057   Offline   8050O
J20L0002058   Online    Skymax
J20L0002060   Online    Skymax
J20L0002061   Online    Skymax
J20L0002063   Online    Skymax
J20L0002064   Online    Skymax
J20L0002065   Online    Skymax
J20L0002066   Online    Skymax
J20L0002068   Offline   8050O
J20L0002069   Online    Skymax
J20L0002070   Online    Skymax
J20L0002071   Online    Skymax
J20L0002072   Online    Skymax
J20L0002073   Online    Skymax
J20L0002074   Online    Skymax
J20L0002075   Offline   8050O
J20L0002076   Offline   8050O
J20L0002077   Online    Skymax
J20L0002078   Offline   Skymax
J20L0002079   Offline   8050O
J20L0002080   Online    Skymax
J20L0002081   Online    Skymax
J20L0002082   Offline   8050O
J20L0002083   Online    Skymax
J20L0002085   Online    Skymax
J20L0002086   Online    Skymax
J20L0002087   Online    Skymax
J20L0002088   Offline   8050O
J20L0002089   Online    Skymax
J20L0002090   Offline   Skymax
J20L0002091   Online    Skymax
J20L0002092   Online    Skymax
J20L0002093   Online    Skymax
J20L0002094   Offline   8050O
J20L0002095   Online    Skymax
J20L0002096   Offline   8050O
J20L0002097   Offline   Skymax
J20L0002098   Offline   8050O
J20L0002099   Online    Skymax
J20L0002100   Online    Skymax
J20L0002101   Online    Skymax
J20L0002103   Online    Skymax
J20L0002104   Online    Skymax
J20L0002105   Online    Skymax
J20L0002106   Online    Skymax
J20L0002107   Online    Skymax
J20L0002108   Online    Skymax




 21-61491-tnap                   Doc 347-2   FILED 06/21/24   ENTERED 06/21/24 09:02:23   Page 22 of 50
J20L0002109   Online    Skymax
J20L0002110   Online    Skymax
J20L0002111   Online    Skymax
J20L0002112   Online    Skymax
J20L0002113   Online    Skymax
J20L0002114   Offline   8050O
J20L0002115   Online    Skymax
J20L0002116   Online    Skymax
J20L0002117   Online    Skymax
J20L0002118   Online    Skymax
J20L0002119   Online    Skymax
J20L0002120   Online    Skymax
J20L0002121   Online    Skymax
J20L0002122   Online    Skymax
J20L0002123   Online    Skymax
J20L0002124   Offline   Skymax
J20L0002125   Online    Skymax
J20L0002127   Online    Skymax
J20L0002128   Online    Skymax
J20L0002130   Online    Skymax
J20L0002131   Online    Skymax
J20L0002132   Online    Skymax
J20L0002133   Online    Skymax
J20L0002135   Offline   8050N
J20L0002136   Online    Skymax
J20L0002137   Offline   8050O
J20L0002139   Online    Skymax
J20L0002140   Online    Skymax
J20L0002141   Online    Skymax
J20L0002142   Offline   8050O
J20L0002143   Online    Skymax
J20L0002144   Online    Skymax
J20L0002145   Offline   Skymax
J20L0002146   Online    Skymax
J20L0002147   Online    Skymax
J20L0002148   Offline   8050O
J20L0002150   Online    Skymax
J20L0002151   Online    Skymax
J20L0002152   Online    Skymax
J20L0002153   Online    Skymax
J20L0002154   Offline   8050O
J20L0002155   Online    Skymax
J20L0002156   Offline   8050O
J20L0002157   Online    Skymax
J20L0002158   Online    Skymax
J20L0002159   Online    Skymax
J20L0002160   Offline   Skymax
J20L0002161   Online    Skymax
J20L0002162   Online    Skymax
J20L0002163   Online    Skymax
J20L0002164   Online    Skymax
J20L0002165   Online    Skymax
J20L0002167   Offline   8050O
J20L0002168   Offline   8050O
J20L0002169   Online    Skymax
J20L0002170   Online    Skymax
J20L0002171   Offline   Skymax
J20L0002172   Online    Skymax
J20L0002173   Offline   Skymax
J20L0002174   Online    Skymax
J20L0002175   Online    Skymax
J20L0002176   Online    Skymax
J20L0002177   Online    Skymax
J20L0002178   Offline   8050O
J20L0002179   Online    Skymax
J20L0002180   Online    Skymax
J20L0002181   Online    Skymax
J20L0002183   Online    Skymax
J20L0002184   Offline   Skymax
J20L0002185   Online    Skymax
J20L0002187   Online    Skymax
J20L0002188   Offline   8050O
J20L0002189   Offline   Skymax
J20L0002190   Offline   8050O
J20L0002191   Online    Skymax
J20L0002192   Online    Skymax
J20L0002193   Online    Skymax
J20L0002194   Online    Skymax
J20L0002195   Offline   8050O
J20L0002196   Online    Skymax
J20L0002197   Online    Skymax
J20L0002198   Offline   8050O
J20L0002199   Online    Skymax
J20L0002200   Online    Skymax
J20L0002201   Offline   Skymax
J20L0002203   Online    Skymax
J20L0002204   Online    Skymax
J20L0002205   Online    Skymax
J20L0002206   Online    Skymax
J20L0002207   Online    Skymax
J20L0002208   Online    Skymax
J20L0002209   Online    Skymax
J20L0002210   Online    Skymax
J20L0002211   Offline   8050O
J20L0002212   Offline   8050O
J20L0002213   Online    Skymax
J20L0002214   Offline   Skymax
J20L0002216   Online    Skymax
J20L0002217   Online    Skymax
J20L0002218   Online    Skymax
J20L0002219   Offline   8050O




 21-61491-tnap                   Doc 347-2   FILED 06/21/24   ENTERED 06/21/24 09:02:23   Page 23 of 50
J20L0002221   Online    Skymax
J20L0002222   Online    Skymax
J20L0002223   Online    Skymax
J20L0002224   Online    Skymax
J20L0002225   Online    Skymax
J20L0002226   Offline   8050O
J20L0002227   Online    Skymax
J20L0002228   Online    Skymax
J20L0002229   Offline   8050O
J20L0002230   Offline   Skymax
J20L0002231   Online    Skymax
J20L0002232   Online    Skymax
J20L0002233   Offline   8050O
J20L0002234   Online    Skymax
J20L0002235   Online    Skymax
J20L0002236   Offline   Skymax
J20L0002237   Online    Skymax
J20L0002238   Online    Skymax
J20L0002239   Online    Skymax
J20L0002240   Online    Skymax
J20L0002241   Offline   8050O
J20L0002242   Online    Skymax
J20L0002243   Online    Skymax
J20L0002244   Online    Skymax
J20L0002245   Online    Skymax
J20L0002246   Online    Skymax
J20L0002247   Offline   8050O
J20L0002249   Online    Skymax
J20L0002250   Online    Skymax
J20L0002251   Offline   8050O
J20L0002252   Offline   8050O
J20L0002254   Online    Skymax
J20L0002255   Online    Skymax
J20L0002256   Online    Skymax
J20L0002258   Offline   8050O
J20L0002259   Online    Skymax
J20L0002260   Online    Skymax
J20L0002261   Online    Skymax
J20L0002262   Online    Skymax
J20L0002263   Online    Skymax
J20L0002264   Online    Skymax
J20L0002267   Offline   8050O
J20L0002269   Offline   8050O
J20L0002272   Online    Skymax
J20L0002273   Online    Skymax
J20L0002274   Online    Skymax
J20L0002275   Offline   8050O
J20L0002276   Online    Skymax
J20L0002277   Online    Skymax
J20L0002278   Online    Skymax
J20L0002279   Online    Skymax
J20L0002280   Online    Skymax
J20L0002281   Online    Skymax
J20L0002282   Offline   8050O
J20L0002283   Online    Skymax
J20L0002284   Online    Skymax
J20L0002285   Online    Skymax
J20L0002286   Online    Skymax
J20L0002287   Online    Skymax
J20L0002288   Online    Skymax
J20L0002289   Online    Skymax
J20L0002290   Offline   Skymax
J20L0002291   Online    Skymax
J20L0002292   Online    Skymax
J20L0002293   Online    Skymax
J20L0002294   Online    Skymax
J20L0002295   Online    Skymax
J20L0002296   Online    Skymax
J20L0002297   Online    Skymax
J20L0002298   Online    Skymax
J20L0002299   Online    Skymax
J20L0002300   Online    Skymax
J20L0002301   Online    Skymax
J20L0002302   Online    Skymax
J20L0002303   Online    Skymax
J20L0002305   Online    Skymax
J20L0002307   Online    Skymax
J20L0002308   Offline   8050O
J20L0002309   Online    Skymax
J20L0002310   Offline   Skymax
J20L0002311   Offline   8050O
J20L0002312   Online    Skymax
J20L0002313   Offline   8050O
J20L0002314   Online    Skymax
J20L0002315   Offline   8050O
J20L0002317   Offline   8050O
J20L0002318   Online    Skymax
J20L0002319   Online    Skymax
J20L0002320   Online    Skymax
J20L0002321   Online    Skymax
J20L0002322   Offline   8050O
J20L0002323   Online    Skymax
J20L0002324   Online    Skymax
J20L0002325   Online    Skymax
J20L0002326   Online    Skymax
J20L0002327   Online    Skymax
J20L0002328   Online    Skymax
J20L0002329   Online    Skymax
J20L0002331   Offline   8050O
J20L0002332   Online    Skymax
J20L0002333   Offline   8050O




 21-61491-tnap                   Doc 347-2   FILED 06/21/24   ENTERED 06/21/24 09:02:23   Page 24 of 50
J20L0002334   Offline   8050O
J20L0002335   Offline   8050O
J20L0002336   Offline   8050O
J20L0002338   Online    Skymax
J20L0002339   Online    Skymax
J20L0002340   Online    Skymax
J20L0002341   Online    Skymax
J20L0002342   Offline   8050O
J20L0002343   Online    Skymax
J20L0002344   Online    Skymax
J20L0002345   Online    Skymax
J20L0002346   Online    Skymax
J20L0002348   Online    Skymax
J20L0002349   Online    Skymax
J20L0002350   Offline   8050O
J20L0002352   Online    Skymax
J20L0002353   Online    Skymax
J20L0002354   Online    Skymax
J20L0002355   Offline   8050O
J20L0002356   Online    Skymax
J20L0002357   Online    Skymax
J20L0002358   Online    Skymax
J20L0002359   Offline   8050O
J20L0002360   Online    Skymax
J20L0002361   Online    Skymax
J20L0002362   Online    Skymax
J20L0002363   Online    Skymax
J20L0002364   Online    Skymax
J20L0002365   Online    Skymax
J20L0002366   Online    Skymax
J20L0002367   Online    Skymax
J20L0002368   Online    Skymax
J20L0002369   Offline   8050O
J20L0002370   Offline   8050O
J20L0002371   Online    Skymax
J20L0002372   Online    Skymax
J20L0002373   Offline   Skymax
J20L0002374   Online    Skymax
J20L0002375   Online    Skymax
J20L0002376   Online    Skymax
J20L0002377   Offline   8050O
J20L0002378   Offline   8050O
J20L0002379   Online    Skymax
J20L0002380   Offline   8050O
J20L0002381   Online    Skymax
J20L0002382   Online    Skymax
J20L0002383   Online    Skymax
J20L0002384   Online    Skymax
J20L0002385   Online    Skymax
J20L0002386   Online    Skymax
J20L0002388   Online    Skymax
J20L0002390   Offline   8050O
J20L0002391   Online    Skymax
J20L0002392   Online    Skymax
J20L0002393   Online    Skymax
J20L0002395   Online    Skymax
J20L0002396   Offline   Skymax
J20L0002397   Online    Skymax
J20L0002398   Offline   8050O
J20L0002399   Online    Skymax
J20L0002400   Online    Skymax
J20L0002401   Online    Skymax
J20L0002403   Online    Skymax
J20L0002404   Online    Skymax
J20L0002405   Online    Skymax
J20L0002406   Online    Skymax
J20L0002407   Online    Skymax
J20L0002408   Online    Skymax
J20L0002409   Offline   8050O
J20L0002410   Offline   8050O
J20L0002411   Online    Skymax
J20L0002412   Online    Skymax
J20L0002413   Online    Skymax
J20L0002414   Offline   Skymax
J20L0002416   Online    Skymax
J20L0002417   Online    Skymax
J20L0002418   Offline   8050O
J20L0002419   Offline   8050O
J20L0002420   Online    Skymax
J20L0002423   Offline   8050O
J20L0002424   Offline   8050O
J20L0002425   Online    Skymax
J20L0002426   Online    Skymax
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J20L0002431   Online    Skymax
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J20L0002433   Online    Skymax
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J20L0002436   Online    Skymax
J20L0002437   Online    Skymax
J20L0002438   Online    Skymax
J20L0002439   Online    Skymax
J20L0002441   Online    Skymax
J20L0002442   Offline   8050O
J20L0002443   Online    Skymax
J20L0002444   Online    Skymax
J20L0002446   Online    Skymax
J20L0002447   Online    Skymax




 21-61491-tnap                   Doc 347-2   FILED 06/21/24   ENTERED 06/21/24 09:02:23   Page 25 of 50
J20L0002448   Offline   Skymax
J20L0002449   Offline   Skymax
J20L0002450   Online    Skymax
J20L0002451   Online    Skymax
J20L0002452   Online    Skymax
J20L0002453   Online    Skymax
J20L0002454   Online    Skymax
J20L0002455   Offline   8050O
J20L0002456   Online    Skymax
J20L0002459   Online    Skymax
J20L0002460   Offline   8050O
J20L0002461   Online    Skymax
J20L0002462   Online    Skymax
J20L0002463   Offline   8050O
J20L0002464   Offline   Skymax
J20L0002465   Online    Skymax
J20L0002466   Online    Skymax
J20L0002467   Online    Skymax
J20L0002468   Online    Skymax
J20L0002469   Online    Skymax
J20L0002470   Online    Skymax
J20L0002471   Online    Skymax
J20L0002472   Online    Skymax
J20L0002473   Offline   8050O
J20L0002474   Online    Skymax
J20L0002475   Online    Skymax
J20L0002478   Online    Skymax
J20L0002479   Online    Skymax
J20L0002480   Offline   8050O
J20L0002483   Offline   8050O
J20L0002484   Offline   8050O
J20L0002485   Online    Skymax
J20L0002486   Online    Skymax
J20L0002487   Offline   8050O
J20L0002488   Offline   8050O
J20L0002489   Online    Skymax
J20L0002490   Offline   8050O
J20L0002491   Offline   8050O
J20L0002493   Online    Skymax
J20L0002494   Online    Skymax
J20L0002495   Online    Skymax
J20L0002496   Online    Skymax
J20L0002497   Online    Skymax
J20L0002499   Online    Skymax
J20L0002500   Online    Skymax
J20L0002502   Offline   8050O
J20L0002503   Online    Skymax
J20L0002504   Online    Skymax
J20L0002505   Online    Skymax
J20L0002506   Offline   8050O
J20L0002507   Offline   8050O
J20L0002508   Offline   8050O
J20L0002509   Offline   8050O
J20L0002510   Online    Skymax
J20L0002511   Offline   8050O
J20L0002512   Online    Skymax
J20L0002514   Online    Skymax
J20L0002515   Online    Skymax
J20L0002516   Online    Skymax
J20L0002517   Offline   8050O
J20L0002519   Offline   8050O
J20L0002520   Online    Skymax
J20L0002522   Offline   8050O
J20L0002523   Online    Skymax
J20L0002524   Online    Skymax
J20L0002525   Online    Skymax
J20L0002526   Offline   8050O
J20L0002527   Online    Skymax
J20L0002528   Online    Skymax
J20L0002531   Online    Skymax
J20L0002532   Online    Skymax
J20L0002533   Online    Skymax
J20L0002534   Offline   Skymax
J20L0002535   Offline   8050O
J20L0002536   Offline   8050O
J20L0002537   Offline   8050O
J20L0002538   Offline   8050O
J20L0002539   Online    Skymax
J20L0002541   Online    Skymax
J20L0002542   Online    Skymax
J20L0002543   Offline   8050O
J20L0002544   Online    Skymax
J20L0002545   Online    Skymax
J20L0002547   Online    Skymax
J20L0002548   Online    Skymax
J20L0002549   Online    Skymax
J20L0002550   Offline   8050O
J20L0002551   Offline   8050O
J20L0002552   Online    Skymax
J20L0002553   Offline   8050O
J20L0002554   Online    Skymax
J20L0002555   Online    Skymax
J20L0002556   Online    Skymax
J20L0002557   Online    Skymax
J20L0002559   Online    Skymax
J20L0002560   Offline   8050O
J20L0002561   Offline   Skymax
J20L0002562   Offline   8050O
J20L0002564   Online    Skymax
J20L0002565   Online    Skymax
J20L0002566   Online    Skymax




 21-61491-tnap                   Doc 347-2   FILED 06/21/24   ENTERED 06/21/24 09:02:23   Page 26 of 50
J20L0002567   Offline   8050O
J20L0002569   Online    Skymax
J20L0002570   Offline   8050O
J20L0002571   Offline   8050O
J20L0002572   Online    Skymax
J20L0002573   Online    Skymax
J20L0002575   Online    Skymax
J20L0002576   Online    Skymax
J20L0002578   Online    Skymax
J20L0002579   Offline   Skymax
J20L0002580   Online    Skymax
J20L0002581   Online    Skymax
J20L0002582   Offline   8050O
J20L0002583   Offline   8050O
J20L0002584   Online    Skymax
J20L0002585   Offline   8050O
J20L0002586   Online    Skymax
J20L0002587   Online    Skymax
J20L0002588   Online    Skymax
J20L0002590   Offline   8050O
J20L0002592   Online    Skymax
J20L0002593   Online    Skymax
J20L0002594   Online    Skymax
J20L0002595   Online    Skymax
J20L0002596   Online    Skymax
J20L0002597   Online    Skymax
J20L0002598   Offline   8050O
J20L0002599   Online    Skymax
J20L0002600   Online    Skymax
J20L0002602   Online    Skymax
J20L0002603   Online    Skymax
J20L0002604   Online    Skymax
J20L0002605   Online    Skymax
J20L0002606   Online    Skymax
J20L0002607   Online    Skymax
J20L0002608   Online    Skymax
J20L0002610   Online    Skymax
J20L0002611   Online    Skymax
J20L0002612   Online    Skymax
J20L0002614   Online    Skymax
J20L0002615   Online    Skymax
J20L0002616   Online    Skymax
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J20L0002626   Offline   Skymax
J20L0002627   Online    Skymax
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J20L0002635   Online    Skymax
J20L0002636   Online    Skymax
J20L0002637   Online    Skymax
J20L0002639   Online    QA
J20L0002640   Online    Skymax
J20L0002641   Online    Skymax
J20L0002642   Online    Skymax
J20L0002643   Online    Skymax
J20L0002644   Online    Skymax
J20L0002645   Online    Skymax
J20L0002646   Online    Skymax
J20L0002647   Online    Skymax
J20L0002648   Online    Skymax
J20L0002649   Online    Skymax
J20L0002651   Online    Skymax
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J20L0002656   Offline   Skymax
J20L0002657   Online    Skymax
J20L0002658   Online    Skymax
J20L0002660   Online    Skymax
J20L0002661   Online    Skymax
J20L0002662   Online    Skymax
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J20L0002664   Online    Skymax
J20L0002665   Online    Skymax
J20L0002666   Online    Skymax
J20L0002668   Online    Skymax
J20L0002670   Online    Skymax
J20L0002671   Online    Skymax
J20L0002672   Online    QA
J20L0002673   Online    Skymax
J20L0002675   Online    Skymax
J20L0002676   Online    Skymax
J20L0002677   Online    Skymax
J20L0002678   Online    Skymax
J20L0002679   Online    Skymax
J20L0002680   Online    Skymax
J20L0002681   Online    Skymax
J20L0002682   Online    Skymax
J20L0002683   Online    Skymax
J20L0002684   Online    Skymax
J20L0002685   Offline   Skymax




 21-61491-tnap                   Doc 347-2   FILED 06/21/24   ENTERED 06/21/24 09:02:23   Page 27 of 50
J20L0002686   Online    Skymax
J20L0002687   Online    Skymax
J20L0002688   Online    Skymax
J20L0002689   Online    Skymax
J20L0002690   Online    Skymax
J20L0002691   Online    Skymax
J20L0002692   Online    Skymax
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J20L0002698   Online    Skymax
J20L0002700   Online    Skymax
J20L0002701   Online    Skymax
J20L0002702   Online    Skymax
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J20L0002720   Online    Skymax
J20L0002721   Online    Skymax
J20L0002722   Online    Skymax
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J20L0002726   Online    Skymax
J20L0002727   Online    Skymax
J20L0002729   Online    Skymax
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J20L0002731   Online    Skymax
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J20L0002736   Online    Skymax
J20L0002737   Online    Skymax
J20L0002738   Online    Skymax
J20L0002739   Online    Skymax
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J20L0002741   Online    Skymax
J20L0002743   Online    Skymax
J20L0002744   Online    Skymax
J20L0002745   Online    Skymax
J20L0002746   Online    Skymax
J20L0002747   Online    Skymax
J20L0002748   Online    Skymax
J20L0002750   Online    Skymax
J20L0002751   Online    Skymax
J20L0002752   Online    Skymax
J20L0002753   Online    Skymax
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J20L0002760   Online    Skymax
J20L0002761   Online    Skymax
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J20L0002763   Online    Skymax
J20L0002764   Online    Skymax
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J20L0002766   Online    Skymax
J20L0002767   Online    Skymax
J20L0002768   Online    Skymax
J20L0002769   Online    Skymax
J20L0002770   Online    Skymax
J20L0002773   Online    Skymax
J20L0002774   Online    Skymax
J20L0002775   Online    Skymax
J20L0002776   Online    Skymax
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J20L0002778   Online    Skymax
J20L0002779   Online    Skymax
J20L0002780   Online    Skymax
J20L0002781   Online    Skymax
J20L0002782   Offline   Skymax
J20L0002784   Online    Skymax
J20L0002785   Online    Skymax
J20L0002786   Online    Skymax
J20L0002787   Online    Skymax
J20L0002788   Online    Skymax
J20L0002789   Online    Skymax
J20L0002790   Online    Skymax
J20L0002791   Online    Skymax
J20L0002792   Online    Skymax
J20L0002793   Online    Skymax
J20L0002794   Online    Skymax




 21-61491-tnap                   Doc 347-2   FILED 06/21/24   ENTERED 06/21/24 09:02:23   Page 28 of 50
J20L0002795   Online    Skymax
J20L0002796   Online    Skymax
J20L0002797   Online    Skymax
J20L0002798   Online    Skymax
J20L0002799   Online    Skymax
J20L0002800   Online    Skymax
J20L0002801   Offline   8050O
J20L0002802   Online    Skymax
J20L0002806   Online    Skymax
J20L0002807   Online    Skymax
J20L0002809   Online    Skymax
J20L0002810   Online    Skymax
J20L0002811   Online    Skymax
J20L0002812   Online    Skymax
J20L0002813   Online    Skymax
J20L0002814   Online    Skymax
J20L0002817   Online    Skymax
J20L0002818   Online    Skymax
J20L0002819   Online    Skymax
J20L0002820   Offline   Skymax
J20L0002822   Online    Skymax
J20L0002823   Online    Skymax
J20L0002824   Online    Skymax
J20L0002828   Online    Skymax
J20L0002829   Online    Skymax
J20L0002830   Online    Skymax
J20L0002831   Online    Skymax
J20L0002832   Offline   Skymax
J20L0002834   Online    Skymax
J20L0002835   Online    Skymax
J20L0002836   Online    Skymax
J20L0002837   Online    Skymax
J20L0002838   Online    Skymax
J20L0002839   Online    Skymax
J20L0002840   Online    Skymax
J20L0002841   Online    Skymax
J20L0002842   Online    Skymax
J20L0002844   Online    Skymax
J20L0002845   Online    Skymax
J20L0002846   Online    Skymax
J20L0002847   Online    Skymax
J20L0002848   Online    Skymax
J20L0002849   Online    Skymax
J20L0002850   Online    Skymax
J20L0002851   Offline   Skymax
J20L0002852   Online    Skymax
J20S0003001   Offline   8050O
J20S0003002   Online    Skymax
J20S0003003   Offline   8050O
J20S0003004   Offline   8050O
J20S0003005   Offline   8050O
J20S0003006   Offline   8050O
J20S0003007   Offline   8050O
J20S0003008   Offline   8050O
J20S0003009   Offline   8050O
J20S0003010   Offline   8050O
J20S0003012   Offline   8050O
J20S0003013   Offline   8050O
J20S0003014   Offline   8050O
J20S0003015   Offline   8050N
J20S0003016   Offline   8050O
J20S0003017   Offline   8050O
J20S0003018   Offline   8050O
J20S0003019   Offline   8050O
J20S0003020   Offline   8050O
J20S0003022   Offline   8050O
J20S0003023   Offline   8050N
J20S0003025   Offline   8050O
J20S0003026   Offline   8050O
J20S0003027   Offline   8050O
J20S0003028   Offline   8050O
J20S0003029   Offline   8050O
J20S0003030   Offline   8050O
J20S0003031   Offline   8050O
J20S0003032   Offline   8050O
J20S0003033   Offline   8050O
J20S0003034   Online    Skymax
J20S0003036   Offline   8050N
J20S0003037   Offline   8050O
J20S0003038   Offline   8050O
J20S0003039   Offline   8050O
J20S0003040   Offline   8050O
J20S0003041   Offline   8050O
J20S0003042   Offline   8050O
J20S0003043   Offline   8050O
J20S0003044   Offline   8050O
J20S0003045   Online    Skymax
J20S0003046   Online    Skymax
J20S0003047   Offline   8050N
J20S0003048   Online    Skymax
J20S0003049   Offline   8050O
J20S0003050   Offline   8050O
J20S0003051   Offline   8050O
J20S0003052   Offline   8050O
J20S0003053   Offline   8050O
J20S0003054   Offline   8050O
J20S0003055   Offline   8050O
J20S0003056   Offline   8050O
J20S0003057   Offline   8050O
J20S0003058   Offline   8050O
J20S0003059   Offline   8050O




 21-61491-tnap                   Doc 347-2   FILED 06/21/24   ENTERED 06/21/24 09:02:23   Page 29 of 50
J20S0003060   Offline   8050O
J20S0003061   Offline   8050O
J20S0003062   Offline   8050O
J20S0003063   Offline   8050O
J20S0003065   Offline   8050O
J20S0003066   Offline   8050O
J20S0003067   Offline   8050O
J20S0003068   Offline   8050O
J20S0003069   Offline   8050O
J20S0003071   Offline   8050O
J20S0003072   Offline   8050N
J20S0003073   Online    Skymax
J20S0003074   Offline   8050 CVP
J20S0003077   Offline   8050O
J20S0003078   Offline   8050O
J20S0003079   Offline   8050O
J20S0003080   Offline   8050O
J20S0003081   Offline   8050O
J20S0003082   Offline   8050O
J20S0003084   Online    Skymax
J20S0003085   Online    Skymax
J20S0003086   Online    Skymax
J20S0003087   Offline   8050O
J20S0003088   Offline   8050O
J20S0003089   Offline   8050O
J20S0003091   Offline   8050O
J20S0003092   Offline   8050O
J20S0003096   Offline   8050O
J20S0003097   Offline   8050O
J20S0003098   Offline   8050O
J20S0003099   Offline   8050O
J20S0003100   Offline   8050O
J20S0003101   Offline   8050O
J20S0003102   Online    Skymax
J20S0003103   Offline   8050O
J20S0003104   Online    Skymax
J20S0003105   Online    Skymax
J20S0003106   Offline   8050N
J20S0003107   Online    Skymax
J20S0003108   Online    Skymax
J20S0003109   Online    Skymax
J20S0003110   Online    Skymax
J20S0003111   Online    Skymax
J20S0003112   Online    Skymax
J20S0003114   Online    Skymax
J20S0003115   Online    Skymax
J20S0003117   Online    Skymax
J20S0003118   Online    Skymax
J20S0003119   Online    Skymax
J20S0003120   Online    Skymax
J20S0003121   Online    Skymax
J20S0003123   Online    Skymax
J20S0003124   Online    Skymax
J20S0003125   Online    Skymax
J20S0003127   Online    Skymax
J20S0003128   Online    Skymax
J20S0003130   Online    Skymax
J20S0003131   Online    Skymax
J20S0003132   Online    Skymax
J20S0003133   Online    Skymax
J20S0003134   Online    Skymax
J20S0003135   Online    Skymax
J20S0003136   Online    Skymax
J20S0003137   Online    Skymax
J20S0003140   Online    Skymax
J20S0003141   Online    Skymax
J20S0003142   Online    Skymax
J20S0003143   Online    Skymax
J20S0003144   Online    Skymax
J20S0003145   Online    Skymax
J20S0003146   Online    Skymax
J20S0003147   Offline   8050O
J20S0003148   Online    Skymax
J20S0003150   Offline   8050O
J20S0003151   Offline   8050O
J20S0003152   Offline   8050O
J20S0003153   Online    Skymax
J20S0003154   Offline   8050O
J20S0003155   Online    Skymax
J20S0003156   Online    Skymax
J20S0003157   Offline   8050O
J20S0003159   Offline   8050O
J20S0003160   Offline   8050O
J20S0003161   Online    Skymax
J20S0003165   Offline   8050O
J20S0003166   Online    Skymax
J20S0003167   Online    Skymax
J20S0003168   Offline   8050O
J20S0003169   Online    Skymax
J20S0003170   Online    Skymax
J20S0003171   Online    Skymax
J20S0003173   Offline   8050O
J20S0003176   Online    Skymax
J20S0003177   Offline   8050O
J20S0003178   Offline   8050O
J20S0003180   Offline   8050O
J20S0003181   Online    Skymax
J20S0003182   Online    Skymax
J20S0003183   Online    Skymax
J20S0003184   Online    Skymax
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 21-61491-tnap                     Doc 347-2   FILED 06/21/24   ENTERED 06/21/24 09:02:23   Page 30 of 50
J20S0003186   Online    Skymax
J20S0003187   Offline   8050O
J20S0003188   Online    Skymax
J20S0003189   Online    Skymax
J20S0003191   Online    Skymax
J20S0003192   Online    Skymax
J20S0003193   Online    Skymax
J20S0003195   Online    Skymax
J20S0003196   Online    Skymax
J20S0003199   Online    Skymax
J20S0003200   Online    Skymax
J20S0003201   Online    Skymax
J20S0003205   Offline   8050O
J20S0003206   Online    Skymax
J20S0003207   Online    Skymax
J20S0003208   Online    Skymax
J20S0003209   Offline   8050O
J20S0003210   Offline   8050O
J20S0003211   Offline   8050O
J20S0003212   Offline   8050O
J20S0003213   Online    Skymax
J20S0003215   Online    Skymax
J20S0003216   Offline   8050O
J20S0003217   Offline   8050O
J20S0003218   Offline   8050O
J20S0003219   Offline   8050O
J20S0003220   Offline   8050O
J20S0003221   Online    Skymax
J20S0003222   Online    8050 Air
J20S0003223   Online    Skymax
J20S0003224   Online    Skymax
J20S0003226   Offline   8050O
J20S0003227   Online    Skymax
J20S0003229   Offline   8050O
J20S0003230   Offline   8050O
J20S0003231   Online    Skymax
J20S0003232   Online    Skymax
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J20S0003234   Online    Skymax
J20S0003235   Online    Skymax
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J20S0003239   Online    Skymax
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J20S0003241   Online    Skymax
J20S0003242   Offline   8050O
J20S0003243   Online    Skymax
J20S0003245   Offline   8050O
J20S0003246   Online    Skymax
J20S0003247   Online    Skymax
J20S0003248   Offline   8050O
J20S0003250   Offline   8050O
J20S0003251   Online    Skymax
J20S0003252   Online    Skymax
J20S0003253   Offline   8050O
J20S0003254   Online    Skymax
J20S0003255   Offline   8050N
J20S0003256   Online    Skymax
J20S0003258   Offline   8050O
J20S0003259   Offline   8050O
J20S0003260   Online    Skymax
J20S0003261   Online    Skymax
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J20S0003276   Offline   8050O
J20S0003277   Online    Skymax
J20S0003279   Online    Skymax
J20S0003281   Offline   8050O
J20S0003282   Online    Skymax
J20S0003283   Online    Skymax
J20S0003284   Offline   8050O
J20S0003285   Offline   8050N
J20S0003286   Online    Skymax
J20S0003287   Offline   8050O
J20S0003288   Online    Skymax
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J20S0003290   Offline   8050O
J20S0003291   Online    Skymax
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J20S0003297   Online    Skymax
J20S0003298   Online    Skymax
J20S0003300   Online    Skymax
J20S0003302   Online    Skymax
J20S0003303   Offline   8050O
J20S0003304   Online    Skymax
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 21-61491-tnap                     Doc 347-2   FILED 06/21/24   ENTERED 06/21/24 09:02:23   Page 31 of 50
J20S0003306   Online    Skymax
J20S0003309   Online    Skymax
J20S0003310   Offline   8050N
J20S0003311   Online    Skymax
J20S0003314   Offline   8050O
J20S0003315   Online    Skymax
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J20S0003317   Offline   8050O
J20S0003318   Online    Skymax
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J20S0003321   Offline   8050O
J20S0003322   Online    Skymax
J20S0003323   Online    Skymax
J20S0003324   Online    Skymax
J20S0003325   Offline   8050O
J20S0003326   Online    Skymax
J20S0003327   Online    Skymax
J20S0003328   Online    8050 Air
J20S0003329   Online    Skymax
J20S0003334   Online    8050 Air
J20S0003336   Online    Skymax
J20S0003337   Offline   8050O
J20S0003338   Online    Skymax
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J20S0003343   Online    Skymax
J20S0003344   Offline   8050O
J20S0003345   Online    Skymax
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J20S0003364   Offline   8050O
J20S0003365   Online    Skymax
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J20S0003374   Online    Skymax
J20S0003376   Offline   8050N
J20S0003377   Online    Skymax
J20S0003378   Online    Skymax
J20S0003379   Online    Skymax
J20S0003380   Offline   8050O
J20S0003381   Online    Skymax
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J20S0003384   Online    Skymax
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J20S0003386   Online    Skymax
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J20S0003390   Online    Skymax
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J20S0003399   Offline   8050O
J20S0003400   Online    Skymax
J20S0003401   Online    Skymax
J20S0003402   Online    Skymax
J20S0003403   Offline   8050O
J20S0003404   Online    Skymax
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J20S0003406   Offline   8050O
J20S0003407   Offline   8050O
J20S0003408   Offline   8050O
J20S0003409   Online    Skymax
J20S0003410   Online    Skymax
J20S0003411   Online    Skymax
J20S0003412   Online    Skymax
J20S0003413   Online    Skymax
J20S0003414   Online    Skymax
J20S0003415   Offline   8050N
J20S0003416   Online    Skymax
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 21-61491-tnap                     Doc 347-2   FILED 06/21/24   ENTERED 06/21/24 09:02:23   Page 32 of 50
J20S0003425   Online    Skymax
J20S0003426   Online    Skymax
J20S0003427   Offline   8050O
J20S0003428   Offline   8050O
J20S0003429   Offline   8050O
J20S0003430   Online    Skymax
J20S0003431   Offline   8050N
J20S0003432   Online    Skymax
J20S0003433   Online    Skymax
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J20S0003445   Offline   8050N
J20S0003446   Online    Skymax
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J20S0003462   Online    Skymax
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J20S0003469   Online    QA
J20S0003470   Offline   8050O
J20S0003471   Online    Skymax
J20S0003473   Online    Skymax
J20S0003474   Online    Skymax
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J20S0003484   Offline   8050N
J20S0003485   Offline   8050N
J20S0003486   Online    Skymax
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J20S0003495   Offline   QA
J20S0003496   Online    Skymax
J20S0003497   Online    Skymax
J20S0003499   Online    Skymax
J20S0003500   Online    Skymax
J20S0003501   Online    Skymax
J20S0003502   Offline   8050O
J20S0003503   Online    Skymax
J20S0003504   Online    Skymax
J20S0003505   Offline   8050O
J20S0003506   Online    Skymax
J20S0003508   Online    Skymax
J20S0003509   Online    Skymax
J20S0003510   Online    Skymax
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J20S0003513   Online    Skymax
J20S0003514   Online    Skymax
J20S0003515   Online    8050 Air
J20S0003516   Offline   8050N
J20S0003517   Online    Skymax
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 21-61491-tnap                     Doc 347-2   FILED 06/21/24   ENTERED 06/21/24 09:02:23   Page 33 of 50
J20S0003533   Online    Skymax
J20S0003534   Online    Skymax
J20S0003535   Online    Skymax
J20S0003536   Offline   8050N
J20S0003537   Online    Skymax
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J20S0003552   Offline   8050N
J20S0003553   Online    Skymax
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J20S0003575   Offline   8050N
J20S0003576   Online    Skymax
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J20S0003580   Online    Skymax
J20S0003581   Offline   8050N
J20S0003582   Online    Skymax
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J20S0003586   Online    Skymax
J20S0003589   Online    Skymax
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J20S0003594   Offline   8050O
J20S0003595   Online    Skymax
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J20S0003600   Online    Skymax
J20S0003601   Online    Skymax
J20S0003603   Online    Skymax
J20S0003604   Online    Skymax
J20S0003605   Online    Skymax
J20S0003606   Online    Skymax
J20S0003607   Online    Skymax
J20S0003608   Online    Skymax
J20S0003609   Offline   8050N
J20S0003610   Online    Skymax
J20S0003611   Online    Skymax
J20S0003612   Online    Skymax
J20S0003613   Online    Skymax
J20S0003614   Online    Skymax
J20S0003615   Offline   8050N
J20S0003616   Offline   Skymax
J20S0003617   Online    Skymax
J20S0003618   Online    Skymax
J20S0003619   Online    Skymax
J20S0003620   Online    Skymax
J20S0003623   Offline   8050O
J20S0003625   Online    Skymax
J20S0003626   Online    Skymax
J20S0003627   Online    Skymax
J20S0003629   Online    Skymax
J20S0003630   Online    Skymax
J20S0003632   Online    Skymax
J20S0003633   Online    Skymax
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J20S0003635   Online    Skymax
J20S0003636   Offline   8050O
J20S0003637   Online    Skymax
J20S0003638   Online    Skymax
J20S0003639   Online    Skymax
J20S0003640   Online    Skymax
J20S0003641   Online    Skymax
J20S0003642   Online    Skymax
J20S0003644   Online    Skymax
J20S0003645   Online    Skymax
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 21-61491-tnap                   Doc 347-2   FILED 06/21/24   ENTERED 06/21/24 09:02:23   Page 34 of 50
J20S0003647   Online    Skymax
J20S0003649   Online    Skymax
J20S0003650   Online    Skymax
J20S0003651   Online    Skymax
J20S0003652   Offline   Skymax
J20S0003653   Online    Skymax
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J20S0003662   Online    Skymax
J20S0003664   Online    Skymax
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J20S0003669   Online    Skymax
J20S0003670   Online    Skymax
J20S0003671   Offline   8050N
J20S0003672   Offline   Skymax
J20S0003673   Online    Skymax
J20S0003675   Offline   8050N
J20S0003676   Online    Skymax
J20S0003677   Online    Skymax
J20S0003678   Online    Skymax
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J20S0003680   Online    Skymax
J20S0003681   Online    Skymax
J20S0003682   Online    Skymax
J20S0003683   Online    Skymax
J20S0003684   Online    Skymax
J20S0003685   Online    Skymax
J20S0003687   Online    Skymax
J20S0003688   Offline   8050N
J20S0003689   Online    Skymax
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J20S0003694   Online    Skymax
J20S0003695   Online    Skymax
J20S0003696   Online    Skymax
J20S0003697   Online    Skymax
J20S0003698   Online    Skymax
J20S0003699   Offline   8050N
J20S0003700   Online    Skymax
J20S0003702   Online    Skymax
J20S0003704   Online    Skymax
J20S0003705   Offline   8050N
J20S0003706   Online    Skymax
J20S0003710   Online    Skymax
J20S0003711   Online    Skymax
J20S0003712   Online    Skymax
J20S0003715   Online    Skymax
J20S0003716   Online    Skymax
J20S0003717   Online    8050 Air
J20S0003719   Online    Skymax
J20S0003722   Offline   8050O
J20S0003723   Online    8050 Air
J20S0003724   Offline   8050O
J20S0003725   Offline   Skymax
J20S0003726   Online    Skymax
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J20S0003728   Online    Skymax
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J20S0003734   Online    Skymax
J20S0003735   Online    Skymax
J20S0003736   Online    Skymax
J20S0003737   Offline   8050N
J20S0003738   Offline   8050N
J20S0003739   Online    Skymax
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J20S0003742   Online    Skymax
J20S0003743   Online    Skymax
J20S0003744   Online    Skymax
J20S0003745   Online    Skymax
J20S0003746   Online    Skymax
J20S0003747   Offline   8050N
J20S0003748   Online    Skymax
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J20S0003750   Online    Skymax
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J20S0003758   Online    Skymax
J20S0003759   Online    Skymax
J20S0003760   Offline   8050 Air
J20S0003761   Online    Skymax
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 21-61491-tnap                     Doc 347-2   FILED 06/21/24   ENTERED 06/21/24 09:02:23   Page 35 of 50
J20S0003767   Online    Skymax
J20S0003768   Online    Skymax
J20S0003769   Online    Skymax
J20S0003770   Online    8050 Air
J20S0003771   Online    Skymax
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J20S0003798   Online    Skymax
J20S0003799   Offline   8050N
J20S0003800   Online    Skymax
J20S0003801   Online    Skymax
J20S0003802   Online    Skymax
J20S0003803   Online    Skymax
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J20S0003809   Online    Skymax
J20S0003810   Online    Skymax
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J20S0003813   Offline   8050N
J20S0003814   Online    Skymax
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J20S0003816   Online    Skymax
J20S0003817   Offline   8050N
J20S0003818   Online    Skymax
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J20S0003820   Online    Skymax
J20S0003824   Online    Skymax
J20S0003825   Offline   8050N
J20S0003826   Online    Skymax
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J20S0003835   Online    Skymax
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J20S0003840   Offline   8050N
J20S0003841   Online    Skymax
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J20S0003854   Offline   8050N
J20S0003855   Online    Skymax
J20S0003856   Online    Skymax
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J20S0003873   Online    Skymax
J20S0003875   Online    Skymax
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J20S0003880   Online    Skymax




 21-61491-tnap                     Doc 347-2   FILED 06/21/24   ENTERED 06/21/24 09:02:23   Page 36 of 50
J20S0003881   Online    Skymax
J20S0003882   Online    Skymax
J20S0003883   Online    Skymax
J20S0003884   Online    Skymax
J20S0003885   Online    QA
J20S0003886   Offline   8050N
J20S0003887   Online    Skymax
J20S0003888   Offline   8050N
J20S0003889   Online    Skymax
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J20S0003920   Online    Skymax
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J20S0003927   Online    Skymax
J20S0003928   Online    Skymax
J20S0003929   Online    Skymax
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J20S0003931   Online    Skymax
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J20S0003937   Online    Skymax
J20S0003938   Online    Skymax
J20S0003939   Online    Skymax
J20S0003940   Online    8050 Air
J20S0003941   Online    Skymax
J20S0003944   Online    Skymax
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J20S0003946   Online    Skymax
J20S0003947   Online    Skymax
J20S0003948   Online    Skymax
J20S0003949   Online    Skymax
J20S0003950   Offline   8050N
J20S0003951   Offline   QA
J20S0003952   Online    Skymax
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J20S0003982   Online    Skymax
J20S0003984   Online    Skymax
J20S0003985   Offline   QA
J20S0003986   Online    Skymax
J20S0003987   Online    Skymax
J20S0003989   Online    8050 Air
J20S0003990   Online    Skymax
J20S0003991   Online    Skymax
J20S0003992   Online    Skymax




 21-61491-tnap                     Doc 347-2   FILED 06/21/24   ENTERED 06/21/24 09:02:23   Page 37 of 50
J20S0003994   Online    Skymax
J20S0003995   Offline   8050 Air
J20S0003996   Offline   8050N
J20S0003997   Online    Skymax
J20S0003998   Online    Skymax
J20S0003999   Online    Skymax
J20S0004000   Online    Skymax
J20S0004001   Offline   8050N
J20S0004002   Offline   8050N
J20S0004004   Online    Skymax
J20S0004005   Online    Skymax
J20S0004006   Online    Skymax
J20S0004007   Online    Skymax
J20S0004009   Online    Skymax
J20S0004010   Online    Skymax
J20S0004011   Online    Skymax
J20S0004012   Online    Skymax
J20S0004013   Online    Skymax
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J20S0004015   Online    Skymax
J20S0004016   Offline   8050N
J20S0004017   Online    Skymax
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J20S0004021   Online    Skymax
J20S0004023   Online    Skymax
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J20S0004027   Online    Skymax
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J20S0004030   Offline   8050N
J20S0004032   Online    Skymax
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J20S0004034   Online    Skymax
J20S0004035   Offline   8050 Air
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J20S0004043   Offline   8050N
J20S0004045   Online    QA
J20S0004046   Online    Skymax
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J20S0004048   Online    Skymax
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J20S0004055   Offline   QA
J20S0004056   Online    Skymax
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J20S0004065   Online    Skymax
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J20S0004068   Online    Skymax
J20S0004069   Online    Skymax
J20S0004071   Offline   8050 Air
J20S0004072   Online    Skymax
J20S0004073   Online    Skymax
J20S0004075   Online    Skymax
J20S0004076   Online    Skymax
J20S0004078   Online    Skymax
J20S0004079   Offline   8050N
J20S0004081   Online    Skymax
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J20S0004084   Offline   QA
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J20S0004090   Offline   8050N
J20S0004091   Online    Skymax
J20S0004092   Offline   QA
J20S0004093   Online    Skymax
J20S0004094   Offline   8050N
J20S0004095   Online    Skymax
J20S0004096   Online    Skymax
J20S0004097   Offline   QA
J20S0004098   Online    Skymax
J20S0004099   Online    Skymax
J21S0004100   Offline   QA
J21S0004101   Online    Skymax
J21S0004102   Offline   8050N
J21S0004103   Online    Skymax
J21S0004104   Online    Skymax
J21S0004105   Online    Skymax
J21S0004106   Offline   8050N
J21S0004108   Online    Skymax




 21-61491-tnap                     Doc 347-2   FILED 06/21/24   ENTERED 06/21/24 09:02:23   Page 38 of 50
J21S0004109   Offline   8050N
J21S0004110   Offline   8050N
J21S0004111   Online    Skymax
J21S0004112   Online    Skymax
J21S0004113   Online    Skymax
J21S0004115   Offline   8050N
J21S0004116   Online    Skymax
J21S0004117   Offline   8050N
J21S0004118   Online    Skymax
J21S0004119   Offline   QA
J21S0004120   Online    Skymax
J21S0004121   Online    Skymax
J21S0004122   Online    Skymax
J21S0004123   Offline   8050N
J21S0004124   Offline   QA
J21S0004125   Online    Skymax
J21S0004126   Online    Skymax
J21S0004127   Offline   QA
J21S0004128   Offline   QA
J21S0004129   Offline   8050N
J21S0004130   Offline   8050N
J21S0004132   Online    Skymax
J21S0004133   Online    Skymax
J21S0004134   Online    Skymax
J21S0004135   Offline   QA
J21S0004136   Online    8050 Air
J21S0004137   Offline   8050N
J21S0004138   Online    Skymax
J21S0004140   Online    Skymax
J21S0004142   Online    Skymax
J21S0004143   Online    Skymax
J21S0004144   Online    Skymax
J21S0004145   Online    Skymax
J21S0004146   Online    QA
J21S0004147   Online    Skymax
J21S0004148   Online    Skymax
J21S0004149   Online    Skymax
J21S0004150   Online    Skymax
J21S0004151   Online    Skymax
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J21S0004156   Online    Skymax
J21S0004157   Online    Skymax
J21S0004158   Offline   8050N
J21S0004160   Online    Skymax
J21S0004161   Online    Skymax
J21S0004162   Online    Skymax
J21S0004175   Offline   8050N
J21S0004176   Online    Skymax
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J21S0004180   Online    Skymax
J21S0004181   Online    Skymax
J21S0004182   Online    Skymax
J21S0004183   Online    Skymax
J21S0004184   Offline   8050N
J21S0004185   Online    Skymax
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J21S0004187   Online    Skymax
J21S0004188   Online    Skymax
J21S0004190   Online    Skymax
J21S0004193   Online    Skymax
J21S0004194   Online    Skymax
J21S0004195   Online    Skymax
J21S0004196   Online    Skymax
J21S0004197   Online    Skymax
J21S0004198   Offline   QA
J21S0004199   Online    Skymax
J21S0004200   Online    Skymax
J21S0004201   Online    Skymax
J21S0004202   Online    Skymax
J21S0004203   Online    Skymax
J21S0004204   Online    Skymax
J21S0004205   Online    Skymax
J21S0004206   Online    Skymax
J21S0004207   Online    Skymax
J21S0004208   Offline   QA
J21S0004209   Offline   QA
J21S0004210   Offline   8050N
J21S0004211   Online    Skymax
J21S0004212   Offline   QA
J21S0004213   Online    Skymax
J21S0004214   Online    Skymax
J21S0004215   Online    Skymax
J21S0004216   Offline   Skymax
J21S0004217   Offline   8050N
J21S0004218   Online    Skymax
J21S0004219   Online    Skymax
J21S0004220   Online    Skymax
J21S0004222   Online    Skymax
J21S0004223   Offline   QA
J21S0004224   Online    Skymax
J21S0004225   Offline   QA
J21S0004227   Online    Skymax
J21S0004228   Online    Skymax
J21S0004229   Online    Skymax
J21S0004230   Online    Skymax
J21S0004231   Offline   8050N




 21-61491-tnap                     Doc 347-2   FILED 06/21/24   ENTERED 06/21/24 09:02:23   Page 39 of 50
J21S0004232   Online    Skymax
J21S0004233   Online    Skymax
J21S0004234   Online    Skymax
J21S0004235   Online    Skymax
J21S0004236   Online    Skymax
J21S0004237   Offline   8050N
J21S0004238   Offline   8050N
J21S0004239   Online    Skymax
J21S0004240   Offline   8050N
J21S0004241   Online    Skymax
J21S0004242   Offline   8050N
J21S0004243   Offline   8050N
J21S0004245   Online    Skymax
J21S0004246   Online    Skymax
J21S0004247   Online    Skymax
J21S0004248   Online    Skymax
J21S0004249   Online    Skymax
J21S0004250   Online    Skymax
J21S0004251   Online    Skymax
J21S0004252   Offline   8050N
J21S0004254   Online    Skymax
J21S0004255   Online    Skymax
J21S0004256   Online    Skymax
J21S0004257   Online    Skymax
J21S0004259   Online    Skymax
J21S0004260   Offline   8050N
J21S0004261   Online    8050 Air
J21S0004262   Offline   8050N
J21S0004263   Offline   QA
J21S0004265   Online    Skymax
J21S0004266   Online    Skymax
J21S0004267   Online    QA
J21S0004268   Online    Skymax
J21S0004269   Online    Skymax
J21S0004270   Online    Skymax
J21S0004271   Online    Skymax
J21S0004272   Online    Skymax
J21S0004273   Online    Skymax
J21S0004274   Online    Skymax
J21S0004275   Online    Skymax
J21S0004276   Online    Skymax
J21S0004277   Online    Skymax
J21S0004278   Online    Skymax
J21S0004279   Online    Skymax
J21S0004280   Online    Skymax
J21S0004281   Online    8050 Air
J21S0004282   Offline   Skymax
J21S0004283   Online    8050 Air
J21S0004284   Online    Skymax
J21S0004285   Online    Skymax
J21S0004286   Offline   Skymax
J21S0004287   Online    Skymax
J21S0004288   Online    Skymax
J21S0004289   Offline   8050 Air
J21S0004290   Online    Skymax
J21S0004292   Online    Skymax
J21S0004293   Offline   QA
J21S0004294   Online    Skymax
J21S0004295   Online    Skymax
J21S0004296   Online    Skymax
J21S0004297   Offline   8050N
J21S0004298   Offline   QA
J21S0004299   Online    Skymax
J21S0004300   Online    Skymax
J21S0004301   Online    Skymax
J21S0004302   Offline   QA
J21S0004303   Online    Skymax
J21S0004304   Online    Skymax
J21S0004305   Online    Skymax
J21S0004306   Offline   QA
J21S0004307   Offline   QA
J21S0004308   Online    Skymax
J21S0004309   Online    Skymax
J21S0004310   Offline   QA
J21S0004311   Online    Skymax
J21S0004312   Offline   QA
J21S0004313   Offline   QA
J21S0004314   Online    Skymax
J21S0004316   Online    Skymax
J21S0004317   Online    Skymax
J21S0004318   Online    Skymax
J21S0004319   Offline   8050N
J21S0004320   Online    Skymax
J21S0004321   Online    Skymax
J21S0004322   Online    Skymax
J21S0004324   Online    Skymax
J21S0004325   Online    Skymax
J21S0004326   Online    Skymax
J21S0004327   Online    Skymax
J21S0004328   Online    Skymax
J21S0004329   Online    Skymax
J21S0004330   Online    Skymax
J21S0004332   Offline   Skymax
J21S0004333   Online    Skymax
J21S0004334   Offline   Skymax
J21S0004335   Online    Skymax
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J21S0004337   Online    Skymax
J21S0004338   Online    Skymax
J21S0004339   Offline   Skymax
J21S0004340   Online    Skymax




 21-61491-tnap                     Doc 347-2   FILED 06/21/24   ENTERED 06/21/24 09:02:23   Page 40 of 50
J21S0004341   Online    Skymax
J21S0004342   Online    Skymax
J21S0004343   Online    Skymax
J21S0004344   Online    Skymax
J21S0004345   Online    Skymax
J21S0004346   Online    Skymax
J21S0004347   Offline   8050N
J21S0004348   Offline   8050N
J21S0004349   Online    Skymax
J21S0004350   Online    Skymax
J21S0004351   Online    8050 Air
J21S0004352   Online    Skymax
J21S0004353   Online    Skymax
J21S0004355   Online    Skymax
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J21S0004358   Online    Skymax
J21S0004359   Online    Skymax
J21S0004360   Online    Skymax
J21S0004362   Online    Skymax
J21S0004364   Online    Skymax
J21S0004365   Online    Skymax
J21S0004366   Online    Skymax
J21S0004367   Offline   8050N
J21S0004368   Online    Skymax
J21S0004369   Online    Skymax
J21S0004370   Offline   8050N
J21S0004372   Offline   8050N
J21S0004373   Online    Skymax
J21S0004374   Online    Skymax
J21S0004375   Online    Skymax
J21S0004376   Online    Skymax
J21S0004377   Online    Skymax
J21S0004378   Online    Skymax
J21S0004379   Online    8050 Air
J21S0004380   Offline   8050N
J21S0004381   Online    8050 Air
J21S0004382   Online    Skymax
J21S0004383   Online    Skymax
J21S0004384   Online    Skymax
J21S0004385   Online    Skymax
J21S0004386   Online    Skymax
J21S0004387   Online    Skymax
J21S0004388   Offline   8050N
J21S0004389   Online    Skymax
J21S0004390   Online    Skymax
J21S0004391   Online    Skymax
J21S0004392   Online    Skymax
J21S0004393   Offline   8050N
J21S0004394   Online    Skymax
J21S0004395   Online    Skymax
J21S0004397   Online    Skymax
J21S0004398   Online    Skymax
J21S0004399   Online    Skymax
J21S0004400   Online    Skymax
J21S0004401   Online    Skymax
J21S0004402   Online    8050 Air
J21S0004404   Online    Skymax
J21S0004405   Online    Skymax
J21S0004406   Offline   8050N
J21S0004407   Offline   8050N
J21S0004408   Offline   8050N
J21S0004409   Online    Skymax
J21S0004410   Online    Skymax
J21S0004412   Online    Skymax
J21S0004413   Online    Skymax
J21S0004414   Online    Skymax
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J21S0004421   Offline   Skymax
J21S0004422   Online    Skymax
J21S0004423   Online    Skymax
J21S0004424   Offline   8050N
J21S0004425   Online    Skymax
J21S0004426   Online    Skymax
J21S0004427   Online    8050 Air
J21S0004428   Online    Skymax
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J21S0004430   Online    Skymax
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J21S0004434   Online    Skymax
J21S0004435   Online    Skymax
J21S0004436   Offline   8050N
J21S0004437   Online    Skymax
J21S0004439   Online    Skymax
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J21S0004450   Online    Skymax
J21S0004451   Online    Skymax




 21-61491-tnap                     Doc 347-2   FILED 06/21/24   ENTERED 06/21/24 09:02:23   Page 41 of 50
J21S0004452   Online    Skymax
J21S0004453   Online    Skymax
J21S0004454   Offline   8050 Air
J21S0004455   Online    Skymax
J21S0004456   Online    Skymax
J21S0004457   Online    Skymax
J21S0004458   Online    Skymax
J21S0004459   Online    Skymax
J21S0004460   Online    Skymax
J21S0004461   Online    Skymax
J21S0004462   Online    Skymax
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J21S0004464   Online    Skymax
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J21S0004467   Online    Skymax
J21S0004468   Online    8050 Air
J21S0004469   Online    Skymax
J21S0004470   Online    Skymax
J21S0004471   Offline   8050N
J21S0004472   Online    Skymax
J21S0004473   Online    Skymax
J21S0004474   Offline   8050N
J21S0004475   Online    Skymax
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J21S0004480   Online    Skymax
J21S0004481   Online    Skymax
J21S0004482   Online    Skymax
J21S0004483   Online    Skymax
J21S0004484   Offline   QA
J21S0004486   Online    Skymax
J21S0004487   Offline   8050N
J21S0004488   Offline   8050N
J21S0004489   Online    Skymax
J21S0004490   Offline   8050N
J21S0004491   Online    Skymax
J21S0004492   Online    Skymax
J21S0004493   Online    8050 Air
J21S0004494   Offline   8050 Air
J21S0004495   Offline   8050N
J21S0004496   Online    Skymax
J21S0004497   Online    8050 Air
J21S0004498   Online    Skymax
J21S0004499   Offline   8050 Air
J21S0004500   Offline   QA
J21S0004501   Online    8050 Air
J21S0004502   Offline   8050N
J21S0004503   Online    Skymax
J21S0004504   Offline   8050N
J21S0004505   Online    8050 Air
J21S0004506   Offline   8050N
J21S0004507   Offline   8050 Air
J21S0004508   Offline   8050N
J21S0004509   Offline   QA
J21S0004510   Online    Skymax
J21S0004511   Offline   QA
J21S0004512   Offline   8050 Air
J21S0004513   Offline   QA
J21S0004514   Online    Skymax
J21S0004515   Online    Skymax
J21S0004516   Online    Skymax
J21S0004517   Online    Skymax
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J21S0004519   Offline   8050N
J21S0004520   Offline   8050 Air
J21S0004521   Online    Skymax
J21S0004522   Online    Skymax
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J21S0004527   Online    Skymax
J21S0004528   Offline   8050N
J21S0004529   Online    Skymax
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J21S0004531   Online    Skymax
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J21S0004533   Online    Skymax
J21S0004534   Online    Skymax
J21S0004536   Online    Skymax
J21S0004537   Online    Skymax
J21S0004538   Online    8050 Air
J21S0004539   Offline   8050N
J21S0004540   Offline   8050N
J21S0004541   Offline   8050N
J21S0004542   Offline   8050N
J21S0004543   Offline   QA
J21S0004544   Offline   QA
J21S0004545   Offline   8050 Air
J21S0004546   Offline   8050 Air
J21S0004547   Offline   8050N
J21S0004548   Offline   8050N
J21S0004549   Offline   8050 Air
J21S0004550   Offline   8050N
J21S0004552   Online    Skymax
J21S0004553   Offline   8050N
J21S0004554   Online    Skymax
J21S0004555   Online    Skymax
J21S0004556   Online    8050 Air




 21-61491-tnap                     Doc 347-2   FILED 06/21/24   ENTERED 06/21/24 09:02:23   Page 42 of 50
J21S0004557   Online    8050 Air
J21S0004558   Online    8050 Air
J21S0004559   Online    8050 Air
J21S0004560   Online    8050 Air
J21S0004561   Offline   QA
J21S0004563   Offline   8050N
J21S0004564   Online    Skymax
J21S0004565   Online    Skymax
J21S0004566   Offline   8050N
J21S0004567   Online    Skymax
J21S0004568   Online    Skymax
J21S0004569   Online    Skymax
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J21S0004579   Online    Skymax
J21S0004580   Online    Skymax
J21S0004581   Online    Skymax
J21S0004582   Online    Skymax
J21S0004583   Offline   8050N
J21S0004584   Online    Skymax
J21S0004585   Online    Skymax
J21S0004586   Online    Skymax
J21S0004587   Online    Skymax
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J21S0004593   Online    Skymax
J21S0004594   Online    Skymax
J21S0004595   Online    Skymax
J21S0004596   Online    Skymax
J21S0004597   Offline   8050N
J21S0004598   Online    Skymax
J21S0004599   Online    Skymax
J21S0004600   Online    Skymax
J21S0004601   Offline   8050 Air
J21S0004602   Online    Skymax
J21S0004603   Online    Skymax
J21S0004604   Offline   8050 Air
J21S0004605   Offline   8050N
J21S0004606   Online    Skymax
J21S0004607   Online    Skymax
J21S0004608   Online    Skymax
J21S0004609   Online    Skymax
J21S0004610   Online    Skymax
J21S0004611   Offline   8050N
J21S0004612   Offline   8050N
J21S0004613   Offline   8050N
J21S0004614   Offline   8050N
J21S0004615   Offline   8050N
J21S0004616   Offline   8050N
J21S0004617   Online    Skymax
J21S0004618   Online    Skymax
J21S0004619   Online    Skymax
J21S0004620   Offline   8050 Air
J21S0004621   Online    Skymax
J21S0004622   Online    Skymax
J21S0004624   Online    Skymax
J21S0004625   Offline   8050N
J21S0004626   Offline   8050 Air
J21S0004627   Online    Skymax
J21S0004628   Offline   8050N
J21S0004629   Offline   8050N
J21S0004630   Offline   8050N
J21S0004631   Offline   8050N
J21S0004632   Online    8050 Air
J21S0004633   Offline   8050N
J21S0004634   Online    8050 Air
J21S0004635   Offline   8050N
J21S0004636   Online    Skymax
J21S0004637   Offline   8050N
J21S0004638   Offline   8050 Air
J21S0004639   Offline   8050N
J21S0004640   Offline   8050N
J21S0004641   Offline   8050N
J21S0004642   Offline   QA
J21S0004643   Online    Skymax
J21S0004644   Online    Skymax
J21S0004646   Offline   8050N
J21S0004647   Offline   8050N
J21S0004648   Online    8050 Air
J21S0004649   Online    Skymax
J21S0004650   Online    Skymax
J21S0004651   Online    Skymax
J21S0004652   Offline   8050 Air
J21S0004653   Online    8050 Air
J21S0004654   Offline   8050N
J21S0004655   Offline   8050N
J21S0004656   Online    8050 Air
J21S0004657   Offline   8050N
J21S0004658   Offline   8050N
J21S0004659   Offline   8050N
J21S0004660   Offline   8050N




 21-61491-tnap                     Doc 347-2   FILED 06/21/24   ENTERED 06/21/24 09:02:23   Page 43 of 50
J21S0004661   Online    Skymax
J21S0004662   Online    Skymax
J21S0004663   Online    Skymax
J21S0004664   Online    Skymax
J21S0004665   Offline   8050N
J21S0004667   Offline   8050N
J21S0004668   Online    8050 Air
J21S0004669   Offline   8050N
J21S0004670   Offline   8050N
J21S0004671   Online    8050 Air
J21S0004672   Offline   QA
J21S0004673   Offline   8050N
J21S0004674   Offline   8050N
J21S0004675   Offline   8050N
J21S0004676   Offline   8050 Air
J21S0004677   Offline   8050N
J21S0004678   Offline   8050N
J21S0004679   Online    Skymax
J21S0004681   Online    Skymax
J21S0004682   Offline   QA
J21S0004683   Online    Skymax
J21S0004684   Online    Skymax
J21S0004685   Offline   8050 Air
J21S0004686   Offline   QA
J21S0004687   Offline   8050N
J21S0004688   Online    Skymax
J21S0004689   Offline   8050N
J21S0004690   Online    Skymax
J21S0004691   Offline   8050N
J21S0004692   Online    8050 Air
J21S0004693   Online    Skymax
J21S0004694   Online    Skymax
J21S0004695   Online    Skymax
J21S0004696   Online    Skymax
J21S0004697   Offline   8050N
J21S0004698   Online    Skymax
J21S0004699   Offline   8050N
J21S0004700   Offline   8050N
J21S0004701   Offline   8050N
J21S0004702   Offline   8050N
J21S0004705   Offline   QA
J21S0004706   Online    Skymax
J21S0004708   Online    Skymax
J21S0004709   Offline   8050 Air
J21S0004710   Online    Skymax
J21S0004711   Online    Skymax
J21S0004712   Online    Skymax
J21S0004713   Online    8050 Air
J21S0004714   Online    Skymax
J21S0004715   Online    Skymax
J21S0004716   Offline   8050N
J21S0004717   Online    Skymax
J21S0004718   Offline   8050N
J21S0004719   Online    Skymax
J21S0004720   Online    Skymax
J21S0004721   Online    Skymax
J21S0004722   Online    Skymax
J21S0004723   Offline   8050N
J21S0004724   Online    8050 Air
J21S0004725   Offline   QA
J21S0004726   Offline   QA
J21S0004727   Offline   QA
J21S0004728   Online    8050 Air
J21S0004729   Offline   QA
J21S0004730   Online    Skymax
J21S0004731   Offline   8050N
J21S0004732   Online    Skymax
J21S0004733   Online    8050 Air
J21S0004734   Online    8050 Air
J21S0004735   Online    8050 Air
J21S0004736   Online    8050 Air




 21-61491-tnap                     Doc 347-2   FILED 06/21/24   ENTERED 06/21/24 09:02:23   Page 44 of 50
                                            EXHIBIT 5 to Declaration




Serial        Status    Location   As of 7/20/2021                                                      Total         Number Affected Module Count Expected "On Network" (Doesn't mean hashing)
J19L0001012   Online    Skymax     Online             202              Offline before fire                       19                 19       328
J19L0001010   Offline   8050O      Offline            145              Offline after fire                       129               110        218
J19L0001009   Offline   8050O      Total              347              Offline after water line burst           145                 16       202
J19L0001008   Offline   8050O
J19L0001007   Online    Skymax
J19L0001006   Offline   8050O
J19L0001005   Online    Skymax
J19L0001003   Online    Skymax
J19L0001002   Offline   8050O
J19L0001001   Online    Skymax
J19L0001000   Online    Skymax
J19L0000999   Offline   8050O
J19L0000997   Online    Skymax
J19L0000996   Offline   8050O
J19L0000995   Online    Skymax
J19L0000994   Online    Skymax
J19L0000993   Online    Skymax
J19L0000992   Online    Skymax
J19L0000991   Online    Skymax
J19L0000986   Offline   8050O
J19L0000985   Online    Skymax
J19L0000984   Offline   8050O
J19L0000980   Offline   Skymax
J19L0000978   Online    Skymax
J19L0000976   Online    Skymax
J19L0000974   Online    Skymax
J19L0000973   Online    Skymax
J19L0000972   Online    Skymax
J19L0000971   Offline   Skymax
J19L0000970   Offline   8050O
J19L0000969   Online    Skymax
J19L0000968   Offline   8050O
J19L0000967   Offline   8050O
J19L0000963   Online    Skymax
J19L0000962   Online    Skymax
J19L0000961   Offline   8050O
J19L0000960   Online    Skymax
J19L0000959   Online    Skymax
J19L0000958   Offline   8050O
J19L0000957   Online    Skymax
J19L0000954   Online    Skymax
J19L0000952   Online    Skymax
J19L0000950   Online    Skymax
J19L0000949   Online    Skymax
J19L0000946   Offline   8050O
J19L0000945   Offline   8050O
J19L0000944   Offline   Skymax
J19L0000943   Offline   8050O
J19L0000942   Online    Skymax
J19L0000941   Offline   8050O
J19L0000939   Offline   8050O
J19L0000938   Online    Skymax
J19L0000937   Offline   8050O
J19L0000936   Offline   8050O
J19L0000935   Online    Skymax
J19L0000934   Online    Skymax
J19L0000933   Online    Skymax
J19L0000932   Offline   8050O
J19L0000930   Online    Skymax
J19L0000929   Offline   8050O
J19L0000928   Offline   8050O
J19L0000927   Offline   8050O
J19L0000926   Offline   8050O
J19L0000925   Offline   8050O
J19L0000924   Online    Skymax
J19L0000923   Offline   8050O
J19L0000922   Offline   8050O
J19L0000921   Online    Skymax
J19L0000920   Offline   8050O
J19L0000919   Online    Skymax
J19L0000918   Offline   8050O
J19L0000917   Offline   8050O
J19L0000915   Offline   8050O
J19L0000914   Online    Skymax
J19L0000913   Online    Skymax
J19L0000912   Offline   8050O
J19L0000910   Online    Skymax
J19L0000909   Online    Skymax
J19L0000908   Offline   8050O
J19L0000907   Offline   8050O
J19L0000905   Online    Skymax
J19L0000904   Online    Skymax
J19L0000902   Online    Skymax
J19L0000901   Online    Skymax
J19L0000900   Offline   8050O
J19L0000899   Online    Skymax
J19L0000898   Online    Skymax
J19L0000897   Online    Skymax
J19L0000894   Offline   Skymax
J19L0000893   Offline   8050O




 21-61491-tnap                     Doc 347-2                FILED 06/21/24                          ENTERED 06/21/24 09:02:23                                         Page 45 of 50
J19L0000892   Online    Skymax
J19L0000891   Offline   8050O
J19L0000890   Online    Skymax
J19L0000889   Offline   Skymax
J19L0000888   Offline   8050O
J19L0000887   Online    Skymax
J19L0000886   Online    Skymax
J19L0000885   Offline   8050O
J19L0000884   Online    Skymax
J19L0000883   Offline   8050O
J19L0000882   Offline   8050O
J19L0000879   Offline   8050O
J19L0000877   Offline   8050O
J19L0000875   Offline   8050O
J19L0000874   Offline   8050O
J19L0000873   Online    Skymax
J19L0000872   Online    Skymax
J19L0000871   Offline   Skymax
J19L0000870   Online    Skymax
J19L0000868   Online    Skymax
J19L0000867   Online    Skymax
J19L0000866   Online    Skymax
J19L0000864   Online    Skymax
J19L0000863   Online    Skymax
J19L0000862   Offline   8050O
J19L0000861   Offline   Skymax
J19L0000860   Online    Skymax
J19L0000858   Offline   8050N
J19L0000857   Online    Skymax
J19L0000856   Online    Skymax
J19L0000855   Online    Skymax
J19L0000854   Online    Skymax
J19L0000853   Online    Skymax
J19L0000850   Online    Skymax
J19L0000847   Online    Skymax
J19L0000846   Online    Skymax
J19L0000845   Online    Skymax
J19L0000844   Offline   8050O
J19L0000843   Online    Skymax
J19L0000840   Online    Skymax
J19L0000838   Offline   8050O
J19L0000837   Offline   8050O
J19L0000836   Online    Skymax
J19L0000835   Offline   8050O
J19L0000834   Online    Skymax
J19L0000832   Offline   Skymax
J19L0000829   Offline   8050O
J19L0000828   Offline   8050O
J19L0000827   Offline   8050O
J19L0000826   Offline   8050O
J19L0000825   Offline   8050O
J19L0000824   Offline   8050O
J19L0000823   Online    Skymax
J19L0000822   Online    Skymax
J19L0000821   Online    Skymax
J19L0000820   Offline   8050O
J19L0000819   Online    Skymax
J19L0000818   Offline   8050O
J19L0000814   Online    Skymax
J19L0000813   Offline   8050O
J19L0000812   Offline   8050O
J19L0000811   Online    Skymax
J19L0000810   Online    Skymax
J19L0000809   Online    Skymax
J19L0000808   Offline   8050O
J19L0000807   Online    Skymax
J19L0000806   Offline   8050O
J19L0000805   Offline   8050O
J19L0000804   Offline   8050O
J19L0000803   Online    Skymax
J19L0000802   Online    Skymax
J19L0000801   Online    Skymax
J19L0000799   Offline   8050O
J19L0000798   Offline   8050O
J19L0000797   Online    Skymax
J19L0000796   Online    Skymax
J19L0000795   Online    Skymax
J19L0000793   Online    Skymax
J19L0000792   Online    Skymax
J19L0000791   Online    Skymax
J19L0000790   Online    Skymax
J19L0000789   Online    Skymax
J19L0000786   Offline   8050O
J19L0000785   Online    Skymax
J19L0000784   Online    Skymax
J19L0000783   Online    Skymax
J19L0000782   Offline   Skymax
J19L0000781   Online    Skymax
J19L0000780   Online    Skymax
J19L0000779   Online    Skymax
J19L0000778   Offline   8050O




 21-61491-tnap                   Doc 347-2   FILED 06/21/24   ENTERED 06/21/24 09:02:23   Page 46 of 50
J19L0000777   Offline   8050O
J19L0000776   Online    Skymax
J19L0000775   Online    Skymax
J19L0000774   Offline   8050O
J19L0000772   Offline   8050O
J19L0000771   Online    Skymax
J19L0000770   Online    Skymax
J19L0000769   Online    Skymax
J19L0000767   Online    Skymax
J19L0000765   Online    Skymax
J19L0000764   Online    Skymax
J19L0000763   Online    Skymax
J19L0000760   Offline   8050O
J19L0000759   Online    Skymax
J19L0000758   Online    Skymax
J19L0000757   Offline   8050O
J19L0000756   Online    Skymax
J19L0000755   Online    Skymax
J19L0000754   Online    Skymax
J19L0000753   Offline   Skymax
J19L0000752   Online    Skymax
J19L0000751   Offline   8050O
J19L0000750   Offline   8050O
J19L0000749   Online    Skymax
J19L0000748   Offline   Skymax
J19L0000746   Online
J19L0000745   Online    Skymax
J19L0000744   Online    Skymax
J19L0000743   Offline   8050O
J19L0000742   Online    Skymax
J19L0000741   Offline   8050O
J19L0000740   Online    Skymax
J19L0000739   Offline   8050O
J19L0000738   Online    Skymax
J19L0000736   Online    Skymax
J19L0000735   Online    Skymax
J19L0000734   Offline   8050O
J19L0000733   Online    Skymax
J19L0000732   Offline   8050O
J19L0000731   Online    Skymax
J19L0000730   Online    Skymax
J19L0000728   Online    Skymax
J19L0000727   Offline   8050O
J19L0000726   Online    Skymax
J19L0000725   Online    Skymax
J19L0000724   Online    Skymax
J19L0000723   Online    Skymax
J19L0000721   Offline   8050O
J19L0000720   Online    Skymax
J19L0000719   Online    Skymax
J19L0000718   Online    Skymax
J19L0000717   Online    Skymax
J19L0000716   Online    Skymax
J19L0000713   Offline   8050O
J19L0000712   Offline   Skymax
J19L0000710   Online    Skymax
J19L0000709   Offline   8050O
J19L0000706   Online    Skymax
J19L0000705   Online    Skymax
J19L0000704   Online    Skymax
J19L0000703   Online    Skymax
J19L0000702   Online    Skymax
J19L0000701   Offline   8050O
J19L0000700   Online    Skymax
J19L0000699   Online    Skymax
J19L0000698   Online    Skymax
J19L0000697   Online    Skymax
J19L0000696   Offline   8050O
J19L0000694   Online    Skymax
J19L0000693   Online    Skymax
J19L0000692   Online    Skymax
J19L0000691   Online    Skymax
J19L0000690   Offline   8050O
J19L0000689   Offline   8050O
J19L0000688   Online    Skymax
J19L0000687   Offline   8050O
J19L0000685   Offline   8050O
J19L0000683   Offline   8050O
J19L0000682   Offline   8050O
J19L0000681   Online    Skymax
J19L0000680   Offline   8050O
J19L0000679   Offline   8050O
J19L0000678   Offline   Skymax
J19L0000677   Offline   8050O
J19L0000676   Online    Skymax
J19L0000674   Online    Skymax
J19L0000673   Offline   8050O
J19L0000672   Offline   8050O
J19L0000671   Offline   8050O
J19L0000667   Offline   8050O
J19L0000666   Online    Skymax




 21-61491-tnap                   Doc 347-2   FILED 06/21/24   ENTERED 06/21/24 09:02:23   Page 47 of 50
J19L0000665   Online    Skymax
J19L0000664   Online    Skymax
J19L0000663   Online    Skymax
J19L0000662   Online    Skymax
J19L0000661   Offline   8050O
J19L0000660   Offline   8050O
J19L0000659   Online    Skymax
J19L0000658   Online    Skymax
J19L0000656   Online    Skymax
J19L0000654   Online    Skymax
J19L0000650   Online    Skymax
J19L0000649   Online    Skymax
J19L0000648   Online    Skymax
J19L0000647   Online    Skymax
J19L0000645   Offline   8050O
J19L0000644   Online    Skymax
J19L0000641   Online    Skymax
J19L0000639   Online    Skymax
J19L0000638   Online    Skymax
J19L0000637   Online    Skymax
J19L0000636   Online    Skymax
J19L0000635   Offline   8050O
J19L0000634   Offline   8050O
J19L0000633   Online    Skymax
J19L0000632   Online    Skymax
J19L0000631   Online    Skymax
J19L0000630   Offline   8050O
J19L0000629   Online    Skymax
J19L0000627   Online    Skymax
J19L0000626   Online    Skymax
J19L0000625   Online    Skymax
J19L0000624   Offline   Skymax
J19L0000623   Online    Skymax
J19L0000621   Offline   8050O
J19L0000620   Online    Skymax
J19L0000615   Online    Skymax
J19L0000614   Online    Skymax
J19L0000613   Online    Skymax
J19L0000611   Online    Skymax
J19L0000610   Online    Skymax
J19L0000609   Offline   Skymax
J19L0000605   Online    Skymax
J19L0000604   Online    Skymax
J19L0000603   Online    Skymax
J19L0000602   Online    Skymax
J19L0000601   Online    Skymax
J19L0000597   Offline   8050N
J19L0000567   Online    Skymax
J19L0000523   Offline   8050N
J19L0000487   Offline   8050O
J19L0000485   Offline   8050O
J19L0000481   Online    Skymax
J19L0000477   Offline   8050O
J19L0000450   Online    Skymax
J19L0000437   Offline   8050O
J19L0000426   Online    Skymax
J19L0000312   Offline   8050N
J19L0000303   Offline   8050N
J19L0000229   Offline   8050 CVP
J19L0000198   Online    Skymax
J19L0000113   Offline   8050 CVP
J19L0000238   Offline   QA
J19L0000248   Offline   QA
J19L0000303   Offline   8050N
J19L0000454   Offline   QA
J19L0000551   Offline   QA
J19L0000628   Offline   QA
J19L0000670   Offline   QA
J19L0000686   Offline   QA
J19L0000848   Offline   QA
J19L0000889   Offline   QA
J19L0001011   Offline   QA
J19L0001016   Online    Skymax
J19L0001014   Online    Skymax
J19L0001013   Online    Skymax




 21-61491-tnap                     Doc 347-2   FILED 06/21/24   ENTERED 06/21/24 09:02:23   Page 48 of 50
                                      EXHIBIT 6 to Declaration

Midwest Data Company LLC
8050 Freedom Ave NW Suite B
North Canton, OH 44720 US
hosting@mwdataco.com

INVOICE
BILL TO                                                                 INVOICE # 1203
Michael Maranda                                                             DATE 07/01/2021
                                                                        DUE DATE 07/01/2021
                                                                           TERMS Due on receipt




SERVICE               DESCRIPTION                                       QTY          RATE     AMOUNT

Hosting Service       Hosting for May, June, July 2021                    1    55,168.80     55,168.80


                                                         BALANCE DUE
Wire Transfer:
                                                                                       $55,168.80
Midwest Data Company LLC
121 Wilbur Dr NE
North Canton, Ohio 44720


JPMorgan Chase Bank


ABA: 044000037
ACCT:538667962


BTC:3Ep53nj321B3pdQ3nhoaJGVrNwCXzMrAU2




  21-61491-tnap        Doc 347-2      FILED 06/21/24     ENTERED 06/21/24 09:02:23     Page 49 of 50
                          EXHIBIT 7 to Declaration


Item             Qty ImpactedCost Per Unit Line Total
Acorn Sleeves          11200         0.81 $           9,072.00 Packaging for product
Acorn Inserts           3000        0.494 $           1,482.00 Packaging for product
Acorn Tray             12200         1.96 $        23,912.00 Packaging for product
FK Sleeves              1350 $      0.52 $              695.25 Packaging for product
FK Inserts                33 $      2.38 $               78.42 Packaging for product
Bubble Wrap                 3          23 $              69.00 Shipping supplies
Shipping Boxes              6        2.72 $              16.32 Shipping supplies


                                            $        35,324.99




21-61491-tnap      Doc 347-2     FILED 06/21/24        ENTERED 06/21/24 09:02:23       Page 50 of 50
